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                           Ghanem_Sentencing_00000722
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                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT            700

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                           Ghanem_Sentencing_00000723
    Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 3 of 174 Page ID #:6144


   From:                 Lachezar Dinchev <Juchikwien@gmail.com>
   Sent:                 Tuesday, November 18, 2014 7: 18 AM
   To:                   Rami Ghanem <Ramithe@gmail.com>
   Subject:              Fwd:P7204521, P7204511, P7204507, P7204490, P7204489, P7204488, P7204485,
                         P7204371, P7204348, P7204337
   Attach:               P7204521.jpg; P7204S 11.jpg; P7204507.jpg; P7204490.jpg; P7204489.jpg;
                         P7204488 .j pg; P7204485 .j pg; P72043 71.j pg; P7204348 .j pg; P72043 37.jpg



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   6.5 MLN USD AFTER FULL OVERHAUL.

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   JlK:



   Jiri TOYIES,PhD.
   Managing Director
   DOZON s.r.o
   Pomezni 9,182 00 Praha 8,CZ




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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 4 of 174 Page ID #:6145




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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 5 of 174 Page ID #:6146




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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 6 of 174 Page ID #:6147




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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 7 of 174 Page ID #:6148




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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 8 of 174 Page ID #:6149




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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 9 of 174 Page ID #:6150




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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 10 of 174 Page ID #:6151




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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 11 of 174 Page ID #:6152




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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 12 of 174 Page ID #:6153


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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 13 of 174 Page ID #:6154




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                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT        701

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   Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 15 of 174 Page ID #:6156


   From:              Rami Ghanem <ramithe@gmail.com>
   Sent:               Friday, July 4, 2014 6:47 AM
   To:                 Hseen Jwad <hseenjwad@yahoo.com>
   Subject:            RE: ~.fi u~.J .J ~ r".:ll..JI
   Attach:             Mi-17 (Mi-8 MTV) 08016 01 03 2014 (3).pdf; Mi-17 (Mi-8 MTV) 08015 01 03
                       2014 .pdf; 1 Proposal-iss- lMi-17 (FF) .pdf; 1 Proposal-iss- lMi-24 (FF) .pdf; offer for
                       Iraq .pdf




   -----Original Message-----
   From: Hseen Jwad (!!.lailto:hseenjwad@yahoo.com]
   Sent: Thursday. July 3. 2014 10:1 0 PM
   To: mmithc@g mail.com
   Subject: r-'..fi u~ .J J F r)lu.ll




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   Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 16 of 174 Page ID #:6157



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   Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 17 of 174 Page ID #:6158



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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 18 of 174 Page ID #:6159




                     GATEWAY TO MENA
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        Thisproposalisbasedonaverbalrequestandissuppliedingenericform.Certainassumptionsare
        madeduetolackofwrittendirectiveandknowledgeofenduser.

         $668037,216
            x Original copies of end user certificates from a non-embargoed End User
               country
            x All expenses are to be pre-paid up front in order complete negotiations and
               contracting
            x Flying hours for calculations is assumed at 960 hours per year per helicopter
               for both types (worst case scenario) practically would entail 480 per a/c per
               year which extrapolates to 80 hrs per a/c per month.
            x Infrastructure for repairs is available
            x Infrastructure to house personnel is available



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         23(5$7,2165(48,5(0(176

        In order to operate a flight of helicopters such as 4 x Mi-17 or equivalent Mi-8 MTV
        helicopters for a prolongued period, a support system is required. The helicopters
        can be operated ideally with Mi-24’s as the ground support equipment is largely
        common as is the spares, consumables and crew requirements. This proposal is
        complementary to that of the Mi-24 and should comfortably keep the aircraft
        serviceable for a period of at least 2 years.
        

         +(/,&237(56
        Fully serviceable or fully refurbished units of the following are recommended. They
        will have a warranty period of 1 year and 200-300 hours. No TBO will be required for
        many years with only periodic servicing. Suggested helicopters:
                o   4 x Mi-17/Mi-8MTV

         23(5$7,21$/$33/,&$7,216&(1$5,2

             3(5,2'2)23(5$7,21 (calculation purposes only)




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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 19 of 174 Page ID #:6160




                    GATEWAY TO MENA
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        
               o   Once aircraft (fully refurbished) are delivered they will be capable of
                    operations for at least 2 years in terms of ground support & test equipment
                    and most spares. A life before TBO should be around 8 years.

               o   A 6 month operation period is provided as an example of the requirement
                    in terms of fuel, crews, consumables etc. No ammunition will be required
                    but weapons beams can be fitted as an option, which in turn will require
                    underwing pods and weaponry as well as associated ammunition.

             '(3/2<0(176&(1$5,2
               o   Deployment calculated for in terms of support equipment is as follows:

                       Main facility where aircraft & crews are based. The following is
                         assumed:
                         x   Permanent structure of sorts should there be a major repair,
                              such as engine, gearbox change. It is also necessary to service
                              helicopters under cover. Same structure can be used for spares
                              and ground equipment storage
                         x   Runway structure of sorts even if short
                         x   Fuel storage
                         x   Crew quarters

                    o Deployment bases of temporary nature. Support equipment for 2 such
                       deployments (in support of Mi-24 aircraft are catered for) each of a
                       week in length with possible equipment and personnel

             0$,17(1$1&('2:17,0(
               3-5 days at the most will be scheduled for 200hr service which requires around
               120 hrs of work. Scheduling will take place to ensure that 2 aircraft do not
               have same service requirements at same time. The personnel recruited to do
               the operational support are capable of doing all the servicing’s required.

         *5281'6833257 7(67(48,30(17
        Ground support for the 4 x Mi-17 is proposed. The list below is a list which will be
        compatible with that of the Mi-24 and thus has less equipment than normal. If
        something additional is required during the 6 month operational deployment this will
        be optional to the operational budget for miscellaneous mishaps and requirements.




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                                   Ghanem_Sentencing_00000740
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         /,67)25%$6,&(48,30(17?

                
                                  +HOLFRSWHUDQGHQJLQH                              'HVFULSWLRQ         47<

            7RZEDU                                                              ȺɌ           
            +\GUDXOLF-DFNV                                                      ȺɌ           
            3RUWDEOHSXPSXQLW                                                     ɉɇȺɆ              
            0XOWLSRUSRVH/DGGHU                                                  ȺɌ           
            :KHHOFKRFNV                                                                    
            %DOHGV0RRULQJ5RSHV                                                          
            6ZDVK3ODWH6OLQJ                                                    ȺɌ           
            ,QVWDOODWLRQIRUHQJLQHVSUHVHUYDWLRQ                               ɍɄȾ         
            %DOHG7UDFNLQJGHYLFH                                                ȺɌ           
           +ROGHUIRUWULPWDEVEHQGLQJ                                                   
           *RQLRPHWHUIRUWULPWDEVRIPDLQURWRUEODGHV                       ȺɌ           
           6OLQJIRUPDLQURWRUEODGHVOLIWLQJ                                  ȺɌ           
           6OLQJIRUPDLQURWRUKXEOLIWLQJ                                     ȺɌ           
           *UHDVHUIRURLOILOOLQJLQIHDWKHULQJKLQJHRIWDLOURWRUKXE                         
           (QJLQHOLIWLQJEHDP                                                  ȺɌ           
           (QJLQHWUDQVSRUWDWLRQDQG3UHDVVHPEO\WUROOH\                  ɍ    
           7RROIRUEODGHVZHDUFKHFNLQJ                                         ɍ           
           (QJLQHDQG0DLQ*HDUER[6HSDUDWLQJ)L[WXUH                          ȺɌ           
           7DLO5RWRU6OLQJ                                                     ȺɌ          
           3RUWDEOH+\GUDXOLF8QLW                                                         
           )L[WXUHIRUSOD\PHDVXUHPHQW                                                       
           )L[WXUHIRUPHDVXUHPHQWRIEHDULQJD[LDOSOD\                                     
           )L[WXUHIRUFKHFNLQJRIWDLOURWRUZREEOLQJ                        ȺɌ           
           )L[WXUHIRUFKHFNLQJRIWDLOURWRUPLVDOLJQPHQW                                  
           'UDLQ+RVHIRU)XHO                                                 $$          
           +RVHIRUGUDLQLQJRIRLOIURPPDLQJHDUER[                           ȺɌ           
           +RVHIRUGUDLQLQJRIRLOIURPHQJLQH                                           
           )L[WXUHIRUPDLQJHDUER[OLIWLQJ                                    ȺɌ           
           ([WUDFWRUIRUZKHHOW\UHV                                              ɋɒ              
           8OWUDVRQLFXQLWIRUILOWHUVIOXVKLQJ                                   ɍɁɍ           
           7RUTXHZUHQFKNJIP                                               ȺɌ          
           7RUTXHZUHQFKNJIP                                             ȺɌ           
           7RUTXHZUHQFKNJIP                                            ȺɌ           
           7RUTXHZUHQFKNJIP                                              ȺɌ           
           7RUTXHZUHQFKNJIP                                            Ɇ            




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               )L[WXUHIRUILUHH[WLQJXLVKHUERWWOHVFKHFNLQJFKDUJLQJ               
               6SHFLDOZUHQFKIRUILUHH[WLQJXLVKHUERWWOHV                 Ⱥɉɋ     
               7HQVRPHWHUZLWKWRUTXHEXVKHV                                    ɂɇ          
               2LOPHWHUIRURLOOHYHOFKHFNLQJLQKLQJHV                    ȼɆ        
               2LOPHWHUIRURLOOHYHOFKHFNLQJLQKLQJHV                    ȼɆ        
               7RROIRUPHDVXUHPHQWRISUHVVXUHLQZKHHOWXEH                       
               'UDLQKRVHIRU$0*                                                
               6WDQGIRUPDLQJHDUER[                                        ȺɌ       
               6OLQJIRUWDLOURWRUOLIWLQJ                                 ȺɌ      
               'DWXPOHYHOLQJEDU                                                  
               0HWDOOLFPLUURU                                               ȺɌ      
               )UDPHGPLUURU                                               ȺɌ      
               0LUURUZLWKPDJQHW                                           ȺɌ      
               7DSHPHDVXUHP                                                  P           
               7H[WROLWHKDPPHU                                                       
               'XUDOXPLQKDPPHU                                                       
               6HWRIDLUERUQHWRROVLQFDVH                                      
               6HWRIXQLYHUVDOWRROVLQFDVH                                ȺɌ       
               6SHFLDOWRRO                                                  Ɍȼ       
               6SHFLDOWRRO                                                  0Ɍ       
               7RROVVHWIRUUDGLRHOHFWURQLFHTXLSPHQW                      ȺɌ       
               7RROVVHWIRUHOHFWURQLFHTXLSPHQW                           ȺɌ       
               7RROVVHWIRULQVWUXPHQWV                                   ȺɌ       
               7RROER[IRUHQJLQH                                                     
               *DJHVVHW                                                  ʋʋȽɈɋɌ   
               /HQV                                                        ȽɈɋɌ      
               0HDVXULQJEXFNHW                                                 Ⱥ          
               )XQQHOIRUK\GURV\VWHP                                     ɈɋɌ    
               )XQQHOIRUVHGLPHQWFROOHFWLQJ                                    
               )XQQHOIRUIXHO                                             ɈɋɌ    
               /LWWUHFDQ                                                       Ⱥ          
               3DQIRURLOFROOHFWLQJ                                            
               3DQ                                                              Ⱥ        
               )XQQHOZLWKILOWHU                                                 
               PPPHWDOOLFUXOHU                                             PP          
               0DLQ5RWRU+XE%HQFK                                                 
                                          $LUFUDIWHTXLSPHQW                         
               *UHDVH*XQIRUJHQHUDWRUEHDULQJVILOOLQJ                     Ȼ       
               'HYLFHIRUFKHFNLQJRIɂȼȿ                              ɍɉɂȼɍɉɂȼɍ     
               'HYLFHIRUȽɌɉɑ%JHQHUDWRUVSKDVLQJ                               




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                       GATEWAY TO MENA
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               'HYLFHIRUFKHFNLQJRIɂȺHTXLSPHQW                          ɄɉɍɉɌɆ         
               &RQWUROWDFKRPHWHUGHYLFH                                         ɄɌɍɆ           
               3LWRW6WDWLF&KHFNRXWHTXLSPHQW                                  ɄɉȺɉȼȾ           
               &KHFNRXWLQVWDOODWLRQ                                             Ʉɉɍ            
               'HYLFH                                                             ȼȾɄ           
               'HYLFH                                                            ɍɋɄ           
               0HJRKPPHWHU9                                                 Ɇ          
               ,QVWDOODWLRQIRUPDQRPHWHUVFKHFNLQJ                             ȽɍɉɆ           
               7HVWHUIRUFKHFNLQJRIɊɂɈ                                       Ɍɉɋ            
               %DWWHU\WHVWHU                                                      Ⱥɉ             
               5HZLQGHU                                                          ɉɍɆ           
               9DULRPHWHU                                                      ȼȺɊɆɄ          
               ,QVWDOODWLRQIRUFKHFNLQJRIȺɆɉ                                   ɍɄȺɆɉ            
               &KHFNSRLQWRIɗɊȾȼ                                              ɉɇɄȼ           
               ,QVWDOODWLRQIRUFRQYHUWHUVFKHFNLQJ                       ɍɉɉɍɉɉɆɍɉɉ       
               'HYLFHIRUFKHFNLQJRIɊɌ                                    ɉɄɊɌ           
               'HYLFHIRUWKUHHSRLQWHULQVWUXPHQWVFKHFNLQJ                   ɗɍɉɆɆ            
               ,QVWDOODWLRQIRUIXHOJDXJHVFKHFNLQJ                          ɄɉȺɌɉɊ          
             &KHFNRXWFRQVROHRIɋɋɉ                                            ɉɉɋɋɉ            
             &KHFNRXWIRUȺɉȻFKHFNLQJ                                       ɉȺȺȻ           
             &KHFNRXWIRUȺȽȻɁɄFKHFNLQJ                                       ɉȺȺȽȾ          
             5HVLVWDQFHER[                                                   ɊɄɆɋ         
             7KHUPRFXSOHH[HQWLRQ                                               /RRP7&          
             Ⱥ,ȼWKHUPRFXSOHWHVWHU                                        Ⱥ,ȼ/RRP7&       
             7HVWLQJ6HWIRUɌȼDQGȺ,ȼ(QJLQHV6WDUWLQJ&KHFN          ɂɑɂ            
             &DEOHIRUɋɌȽɁɫ$OWHUQDWRU&KHFNLQJ                       ɋɌȽɁ([WHQWLRQORRP    
             &DEOHIRUɉ6LPXODWRU                                             ɉ6LP          
             &DEOHIRUɋɋɉɎɄɋFKHFNLQJ                                    ɋɋɉɎɄ/RRP          
             &KHFNLQJXQLW ZLWKFDEOHV IRUɋȺɊɉɉ)OLJKW'DWD            ɄɉȺɋȺɊɉɉ         
                 5HFRUGHU
             %85)OLJKW'DWD5HFRUGHU&KHFNRXW*HDU                           ɄɉȺȻɍɊ         
             %DWWHU\&KHFNLQJ'HYLFH                                            ɋȺɆ            
                                        $YLRQLFV                                       
             'HYLFHIRU<$'52*5DGLRFKHFNLQJ                               Ȼɥɨɤ          
             'HYLFHIRU%DNODQ5DGLRFKHFNLQJ                            Ʉɉ$%DNODQ        
             'HYLFHIRUUDGLRDOWLPHWHUVFKHFNLQJ                        Ʉɉ$$$   
             0LOOLYROWPHWHU                                                      ȼ            
             'LJLWDO9ROWPHWHU                                                   ȼɄ            
             0LFURKPPHWHU                                                         Ɇ            




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                       GATEWAY TO MENA
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             3XOVHJHQHUDWRU                                                      Ƚ            
             9ROWDPPHWHU                                                         ɐ             
             2VFLOORJUDSK                                                         ɋ            
             *HQHUDWRU                                                           ȽȺ            
             1RLVHJHQHUDWRU                                                     ȽȾ            
             5HVLVWDQFHER[                                                     Ʉɥɚɫ           
             0HJDRKPPHWHU                                                    ɆɆ         
             90HJDRKPPHWHU                                                  Ɇ            
             '&$PPHWHU«ȺFODVV                                  $PPHWHU«Ⱥ        
             $&9ROWPHWHU«9+]FODVV                         9ROWPHWHU«9      
             2XWSXW3RZHU0HWHU                                                  ȼȺ            
             9ROWPHWHU                                                     ȼȼȼ     
             9ROWPHWHU                                                        ȼȼ          
             6WRSZDWFK                                                          ɋɆ             
             '&EULGJHFODVV                                               '&EULGJH          
             '\QDPRPHWHUZLWKNJVFDOH                                     '\QDPRPHWHU          
             2VFLOORJUDSK                                                     ɋɋ          
             'LJLWDO9ROWPHWHU                                              ȼȼɄȺ         
             )UHTXHQF\PHWHU                                                     Ⱦ           
             )UHTXHQF\PHWHU                                             ɑɑɑɑ   
                                                                                         
             *DOYDQRPHWHU                                                         ȽɆɉ              
             *HQHUDWRU                                                           Ƚ            
             *HQHUDWRU                                                       ȽȽ        
             0RGXODWLRQPHWHU                                                    ɋɄɁ            
             $XWRWUDQVIRUPHU                                                     ɅȺɌɊ            
             $GMXVWDEOHYROWDJHVRXUFH                                           ɂɊɇ            
             *URXQGUHFRUGHU                                                     Ɋɂɇ            
                                       $LUFUDIWDUPDPHQW                               
             $WWDFKPHQWIRUȿɄɋɊFKHFNLQJ                                            
             8QLWIRUFKHFNRIVDIHW\DQJOHVRISLYRWEROWEORFN                       
             %HDPHOHYDWLQJNH\$629                                   ɂȿɊ     
             %XVKIRUORFNFKHFN                                            ɂȻȾɄɍɋɛ         
             &RQWUROEDOO                                                     Ⱥɒɋɛ         
             :UHQFKIRUVHOV\Q                                                Ⱥɂ         
             &RQWUROSDQHOIRUHOHFWULFFLUFXLWRIPLVVLOHV\VWHP     ɉɄɐɊɋɉɄɐɊɋɆ         
             7RUTXHZUHQFKNJɫP                                        Ɇ          
             &DOLSHU«                                                      ɒɐ           
             '\QDPRPHWHUNJIP                                          '\QDPRPHWHU       
             7DSHPHDVXUHP                                                     P              




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             2SWLFDOTXDGUDQW                                       ɄɈɄɈ         
             6HWRIWRROVIRUȻȾɄɪȼ                             ȻȾɄɪȼ7          
             7RRO                                                           
             7RRO                                                           
             7RRO                                                           
             7RRO                                                           
             7RRO                                                           
             7RRO                                                           
             &DVVHWWHSUREH                                   ɄȿɊ   
             &DVVHWWHSUREH                                   ɄȿɊ   
             $GDSWHU                                                          
             $GDSWHU                                                         
             7XEHIRUKDUPRQLVDWLRQ                                 Ɍɏɉ          
             7XEHIRUKDUPRQLVDWLRQ                           Ɍɏɉɍɉ    




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                                        Ghanem_Sentencing_00000746
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                  GATEWAY TO MENA
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         63$5(6
        The spares list is as below. No alteration is made for the extra helicopters because of
        certain commonalities between Mi-24 and Mi-17. Operational usage might
        determine certain short comings which will need to be replenished when the
        helicopters are in use.


                     No.         Description         PartNumber     QTY
                                  Engine            ɌȼɁ07        1
                            Mainrotorblade       $7      1
                              Maingearbox             ȼɊ         1
                             Mainrotorhub                1
                               Swashplate                 1
                              Tailrotorassy              1
                              FanShaftAssy        8AͲ6314Ͳ000      1
                            AirͲtoͲOilRadiator        Ɍ         1
                              ShutͲOffvalve         ɆȺ        1
                          )RUNHGHQGWUXQQLRQ      $ɉ      
                               Tailshaft          $      1
                         Intermediategearbox      $      1
                          ([KDXVWSLSHQR]]OH            
                                 /XJ               $ɉ      
                           +\GUDXOLFGDPSHU       ɋȾȼɈȺ       
                             Solenoidvalve          Ⱥ        1
                                Bracket            $7      2
                                Bracket                2
                                Bracket           $7&      2
                                %XVKLQJ           $    
                                %XVKLQJ           $    
                                %XVKLQJ           $    
                           Tachometergauge           ȾɆɌ         1
                                Hinge              $7      2
                               &DEOHDVV\                
                               Bushing            $    4
                           MainRotorBrake               1
                                  %ROW             $     
                          7ZRFKDQQHOVROHQRLG       ȽȺɍ        
                               &DEOHDVV\                
                                 +LQJH            $7     
                                 +LQJH            $7     
                         TemperatureController      ɌɗɊɆ         3



    00106466                                                            Ghanem_00000241-0009


                                   Ghanem_Sentencing_00000747
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                  GATEWAY TO MENA
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                             /RZHU+LQJH           $7        
                             /RZHU+LQJH           $7        
                             8SSHU+LQJH           $7        
                             8SSHU+LQJH           $7        
                             /RZHU+LQJH           $7        
                             /RZHU+LQJH           $7        
                             8SSHU+LQJH           $7        
                             8SSHU+LQJH           $7        
                                  %ROW             $       
                           %UDNH&DEOHDVV\                  
                          Pressuretransmitter        ɂȾɌ           2
                             RPMIndicator            ɂɌɗɌ          1
                            Bearingsupport                    1
                                  %ROW             $       
                                  Bolt              $        2
                                 Shaft               1
                            Inductivesensor          ɂȾ          1
                                  %ROW              $       
                             Transmitter            ɍɁɉɫɟɪ        1
                           Temperaturebulb             ɉ           3



         '2&80(176
        A full set of documents will be provided.

         081,7,216
        No Munitions will be supplied for the Mi-17/Mi-8 MTV unless the beams are ordered as
        an optional extra together with weaponry pods and thus the ammunition.

         3(56211(/

         )/<,1*&5(:
        A total of 20 flying crew is budgeted for to enable leave period every 6 week period
        on a rotation basis without a break in operations. There is an overlap of crews to
        enable effective handover and airline schedules. Included is an insurance levy as
        well as a monetary reserve for medical evacuation and repatriation of injured crews.
        Crews only get paid on station.

         7(&+1,&$/&5(:
        Same as above but crew’s total 6 as some of the flying crews double as technical
        staff.




    00106466                                                              Ghanem_00000241-0010


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                    GATEWAY TO MENA
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         )8(/(67,0$7(6 :2567&$6(6&(1$5,2 
        Mi-17: 80 hr x 4 per month x 1000kg =320000ltr @ $1.50Ltr




         0,%$6,&
        
        ProductCode:HͲMI17Ͳ002
        Supportdocuments:TechnicalProposal(DN:Tobeissued),Spares(DN:Tobeprovided),
        Commercial(DN:Tobeprovided)
        
        Description
        
        Clarificationofdesignations

        TheMiͲ17isageneralreferencetothefollowingaircraftwithcertainvaryingcapability:
            x Mi-8 T versions with TV-2-engines with VR-8 gearbox- Earlier models from
               around 1975 year of manufacture
            x Mi-8MCB versions with MI- TB3-117BMA CBM1B 4E engines. Modified VR-14
               Main Gearbox.
            x Mi-8 MTV versions with TV-3-117MT, MTV versions of engine with associated VR
               -14 Main Gearbox.
            x Mi-17 (export designation of Mi-8 MT/MTV series). This aircraft has TV-3- 117 MT
               or MTV engines. A mix of the two types is logistically compatible
            x Mi-171/2 is a new series of “Mi-17” with modifies airframe to include port and
               starboard doors as well as a rear ramp

        General Description

        The Mi-17 is a multifunctional transport helicopter, with superb performance
        characteristics, capable of performing flights in marginal conditions. This multipurpose
        transport aircraft is a single-rotor helicopter with a conventional tail rotor. The main
        Rotor has five blades with the tail rotor having three blades. The helicopter has tricycle
        landing gear (with a nose wheel).




    00106466                                                                         Ghanem_00000241-0011


                                        Ghanem_Sentencing_00000749
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                      GATEWAY TO MENA
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        The Mi-17 range of aircraft installed with TV3-117VM engines allow a full performance
        envelope in operational conditions, especially in high temperatures and reduced air
        conditions. The auxiliary power unit provides self-regulation of helicopter operation.
        Mi-17 helicopter in transport and passenger versions can fulfil the following missions:
              x transport up to 35 passengers;
              x transport up to 4000 kg cargo in the cargo cabin;
              x transport up to 4000 kg on the external sling;
              x transport of 12 stretcher cases accompanied by medical personnel;
              x lifting, loading and unloading of cargoes in flight;
              x search and rescue missions;
              x fire-fighting operations;
              x carrying of up to 14 persons in VIP cabin.
              x Weapons capability with weapons beams and systems installed
        
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        
            Figure 1: Mi-17 with weapons beams 3 x C-8 rocket pods

        Specification
        Technical: A separate detailed specification document is available on request. A
        basic specification follows:

                                                                            Mi-17
              1   Engine type                                            TB3-117VM
              2   Max Output power (hp)                                  2 x 2200 hp
              3   Engine starting system                                     APU




    00106466                                                            Ghanem_00000241-0012


                                        Ghanem_Sentencing_00000750
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                   GATEWAY TO MENA
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        
            4    Operating ceiling (m)                               6000
            5    Definition Dynamic ceiling(m)                       6300
            6    Practical range (km)                                 740
            7    Fuel consumption (l/h)                          2 x 215 g/hr
            8    Max all up weight (kg)                             13 000
            9    Standard takeoff weight (kg)                       11100
            10   Internal cargo, max (kg)                            4 000
            11   External cargo, max (kg)                            4 000
               Cruise speed at 1000m (km/h)
            12 @ standard takeoff weight
                                                                   220-230
               @ max takeoff weight
                                                                   205-215
            13 Range with one external Tank                         900km
               Maximum ambient temperature
            14                                                     +60°C
               @ constant output power
        
                                   




    00106466                                                    Ghanem_00000241-0013


                                   Ghanem_Sentencing_00000751
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 31 of 174 Page ID #:6172




                    GATEWAY TO MENA
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        
        Delivery status:
              Used: A delivery in this state is on condition and on availability. (Commercial
              considerations to be negotiated prior to sourcing)
              Refurbished: In this instance suitable airframes are found and returned to Original
              Equipment Manufacturer (OEM) Plant for full refurbishment. The status on
              completion is as follows:
                 x Full resources on airframe: 7000hr and 8 years
                 x Full resources on major components:
                         o Engines ;Time between Overhaul (TBO): 2000hrs and 8 years
                         o Auxiliary Power Unit(APU): TBO =1800 starts and 300 hrs
                         o Main Gearbox – TBO is 3000hrs and 8 years
                         o Maximum resources on all major equipment such as rotor
                            head/swash plates, auxiliary gearboxes etc.
                 x New main & tail rotor blades.
                 x Fully corrosion treated and painted in Client colour

        Stock
                                 New               Used                     Refurbished
         Availability           Only 171      Yes conditional                   Yes
        
        Warranty
        Used: As is condition. No warranty usually supplied but is case dependant
        Refurbished: Warranty is 300hrs and 1 calendar year.

         0,237,216
        The Mi-17 can be modified and fitted with various equipment to standardise its use
        for specific operations required by certain clients. These options can be fitted on site
        after deliveryThe following is a condensed list of items and systems than can be
        offered:
        Technical Descriptions:
        On request only:
        Optional Equipment

         No     Description                                                   Included/Excluded
         1      Spares 1:1                                                     Included in spares
         2      NVG modification including Goggles spares package, spares &         Excluded
                ground training
         3      Chadwick blade balancing system                                   Excluded
         4      ACO-2B Chaff & Flare                                              Excluded
         5      BYR-2 Digital data recorder                                       Excluded
         6      ADROS IR jamming system                                           Excluded



    00106466                                                               Ghanem_00000241-0014


                                    Ghanem_Sentencing_00000752
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                   GATEWAY TO MENA
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        
            7   Weapons Beams                                      Excluded

                                




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                                Ghanem_Sentencing_00000753
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 33 of 174 Page ID #:6174




                     GATEWAY TO MENA
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        
        Munitions
                                    The Mi-17 can have weapons beams fitted
                                    which can carry all the munitions that the Mi-24
                                    can carry with the exception of the ATAKA
                                    guided missile.
                                    
                                    
                                    
                                    
                                    
                                    Figure 2: Mi 17 weapons beams

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                                    
                                    




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  Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 34 of 174 Page ID #:6175




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           Thisproposalisbasedonaverbalrequestandissuppliedingenericform.Certainassumptionsare
           madeduetolackofwrittendirectiveandknowledgeofenduser.

            $668037,216
               x Original copies of end user certificates from a non-embargoed End User
               x All expenses are to be pre-paid up front in order complete negotiations and
                  contracting
               x Flying hours for calculations is assumed at 960 hours per year per helicopter
                  for both types (worst case scenario) practically would entail 480 per a/c per
                  year which extrapolates to 80 hrs per a/c per month.
               x Infrastructure for repairs is available
               x Infrastructure to house personnel is available



            +(/,&237(56
           

            23(5$7,2165(48,5(0(176

           In order to operate a flight of compatible helicopters such as 4 x Mi-24, for any
           reasonable period, a support system is required. Ideally 2 x extra Mi-17 should be
           considered if prolonged operations are required. This is a requirement despite this
           being only a proposal for Mi-24 Helicopters
           To adequately support these helicopters for a limited period, the following is
           recommended.
           Note: helicopters, ground support equipment and spares should be adequate for a
           period of 2 years:
           

            +(/,&237(56
           Fully serviceable or fully refurbished units of the following are recommended. They
           will have a warranty period of 1 year and 200-300 hours. No TBO will be required for
           many years with only periodic servicing. Suggested helicopters:
                   o   4 x Mi-24

            23(5$7,21$/$33/,&$7,216&(1$5,2

                3(5,2'2)23(5$7,21 (calculation purposes only)



00106482                                                                                               Ghanem_00000241-01

                                            Ghanem_Sentencing_00000755
  Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 35 of 174 Page ID #:6176




                       GATEWAY TO MENA
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           
                  o   Once aircraft (fully refurbished) are delivered they will be capable of
                       operations for at least 2 years in terms of ground support & test equipment
                       and most spares. A life before TBO should be around 8 years.

                  o   A 6 month operation period is provided as an example of the requirement
                       in terms of fuel, crews, consumables etc. Ammunition can be
                       recommended but its use is entirely a Client consideration

                '(3/2<0(176&(1$5,2
                  o   Deployment calculated for in terms of support equipment is as follows:

                          Main facility where aircraft & crews are based. The following is
                            assumed:
                            x   Permanent structure of sorts should there be a major repair,
                                 such as engine, gearbox change. It is also necessary to service
                                 helicopters under cover. Same structure can be used for spares
                                 and ground equipment storage
                            x   Runway structure of sorts even if short
                            x   Fuel storage
                            x   Munitions storage
                            x   Crew quarters

                       o Deployment bases of temporary nature. Support equipment for 2 such
                          deployments of a week each is included in possible equipment and
                          personnel

                0$,17(1$1&('2:17,0(
                  3-5 days at the most will be scheduled for 200hr service which requires around
                  120hrs of work. Scheduling will take place to ensure that 2 aircraft do not
                  have same service requirements at same time

            *5281'6833257 7(67(48,30(17
           Ground support for the 4 x Mi-24 is proposed. A detail list with part numbers will be
           available on contracting with the suppliers is available. This is only reflected as a line
           item in the commercial table.

            63$5(6
           Same as for para 2.1.3

            '2&80(176
           A full set of documents will be provided.




00106482                                                                                    Ghanem_00000241-02

                                        Ghanem_Sentencing_00000756
  Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 36 of 174 Page ID #:6177




                     GATEWAY TO MENA
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           
            081,7,216
           A nominal quantity for each type is placed in the commercial table. Despite many
           types of munitions being available only C-8 rockets and 12.7mm nose turret gun is
           reflected.

            3(56211(/

            )/<,1*&5(:
           A total of 20 flying crew is budgeted for to enable leave period every 6 week period
           on a rotation basis without a break in operations. There is an overlap of crews to
           enable effective handover and airline schedules. Included is an insurance levy as
           well as a monetary reserve for medical evacuation and repatriation of injured crews.
           Crews only get paid on station.

            7(&+1,&$/&5(:
           Same as above but crew’s total 6 as some of the flying crews double as technical
           staff.

            )8(/(67,0$7(6 :2567&$6(6&(1$5,2 
           Mi-24: 80 hr x 4 per month x 1000kg =320000ltr @ $1.50Ltr




00106482                                                                              Ghanem_00000241-03

                                       Ghanem_Sentencing_00000757
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               GATEWAY TO MENA
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                                       Figure 1: Mi-24


                           




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                                Ghanem_Sentencing_00000758
  Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 38 of 174 Page ID #:6179




                     GATEWAY TO MENA
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            0,9%$6,&'(6&5,37,21
           
           Support documents: Technical Proposal (DN: To be issued), Spares (DN: To be
           provided), Commercial (DN: To be provided)

           Description

           The Mi-24 is a two crew (Pilot & Weapons System Officer) combat helicopter
           capable of carrying 8 x equipped troops in a cabin. The helicopter has 2 x TV-117V
           engines with an output of 2200hp each.

           Stub Wings: Each stub wing has 3 weapons stations capable of 1200kg of ordinance
           each. This mix can be a variation of:
               x External fuel tanks
               x A variety of bombs up to a maximum of 500 kg per single station
               x C5 (57mm) ballistic rockets-older ordinance
               x C-8 (80mm)ballistic rockets-in use by most users
               x KMGU-23 combined 23mm cannon and grenade launcher
                Note: choice of weaponry is a Client prerogative and suspended launchers are
                optional
           Nose Gun: The WSO is equipped with sighting, arming systems as well as a 12.7mm
           turreted cannon. Round capacity is 1200. The round a universal 12.7mm and can
           be taken from any ground forces source.

           Operational advantages: The range of the helicopter is around 430km (dependant
           on conditions) using internal fuel @ max speed of 320km. Refuelling can be done
           using gravity, and ammunition loading is by hand with the minimum of ground
           equipment.
           
           Specification

           Technical: A separate detailed specification document is available on request.

           Delivery status:
               Used: A delivery in this state is on condition and on availability. (Commercial
               considerations to be negotiated prior to sourcing)

               Refurbished: In this instance suitable airframes are found and returned to Original
               Equipment Manufacturer (OEM) Plant for full refurbishment. The status on
               completion is as follows:
                  x Full resources on airframe: 4000hr and 8 years
                  x Full resources on major components:
                          o Engines ;Time between Overhaul (TBO): 2000hrs and 8 years



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                                       Ghanem_Sentencing_00000759
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                           GATEWAY TO MENA
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           
                               o Auxiliary Power Unit(APU): TBO =1800 starts and 300 hrs
                               o Main Gearbox – TBO is 3000hrs and 8 years
                               o Maximum resources on all major equipment such as rotor
                                  head/swash plates, auxiliary gearboxes etc.
                       x New main & tail rotor blades.
                       x Fully corrosion treated and painted in Client colour

           Stock
                                         New              Used               Refurbished
               Availability           Notavailable   Yesconditional             Yes
           
           Warranty
           Used: As is condition. No warranty usually supplied but is case dependant
           Refurbished: Warranty is 200hrs and 1 calendar year.

           2.2.1 MI-24 OPTIONS
           The Mi-24 can be modified and fitted with various equipment to standardise its use
           for specific operations required by certain clients. The following is a condensed list
           of items and systems than can be offered: This can in most cases be done after
           delivery and on site.

           Technical Descriptions:
           On request only:
           Optional Equipment
           
             No  Description                                                        Included/Excluded
               1      Spares 1:1                                                     Included in spares
                                                                                             list
               2      SAFT Nicad batteries & servicing laboratory                         Excluded
               3      NVG modification including Goggles spares package, spares &         Excluded
                      ground training
               4      Chadwick blade balancing system                                   Excluded
               5      ACO-2B Chaff & Flare                                              Excluded
               6      BYR-2 Digital data recorder                                       Excluded
               7      ADROS IR jamming system                                           Excluded
           
           
           Munitions

                   x 12.7mm Ammunition
           
           




00106482                                                                                        Ghanem_00000241-06

                                               Ghanem_Sentencing_00000760
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                     GATEWAY TO MENA
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           
                                                                x Caliber: 12.7 x 108mm
                                                                x Rate of Fire: 4000/4500 rounds
                                                                   per min
           
                                                                 x Muzzle velocity: 810 per sec
           
                                                                x Effective range: 1500 m
           
           
               x C-8 Rocket
                                                                               x Rockets in pod : 20
                                                                               x length x diameter:
                                         
                                                                                   2760 x 520mm
                                         
                                                                                x weight, empty: 160 kg
                                         
                                                                                x weight, loaded: 282
                                         
                                                                                   kg
                                         
                                         
               x ATAKA GUIDED MISSILE
           
           
                                                                   x   Range:1000-5800m
                                                                   x   Mass: 50kg
                                                                   x   Calibre : 130 mm
                                                                   x   Speed: 550 m/sec
                                                                   x   Max on aircraft : 8 per
                                                                        helicopter
           
           
               x Universal Cannon container ȁǽǸ23-250

           
                                                           x   Range: 2000m
                                                           x   Calibre : 23mm x 2 barrels
                                              
                                                            x   Speed: 550 m/sec
                                              
                                                            x   Rate of fire: 3/400 rounds per sec
                                              
                                                            x   Ammo load: 250 rounds
                                              
                                              
                                              
                                              
           
               x Grenade launcher 9-A-800 (30mm grenade)




00106482                                                                                    Ghanem_00000241-07

                                      Ghanem_Sentencing_00000761
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                GATEWAY TO MENA
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           
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           
           
                                              x   Range: 800-1700m
                                              x   Calibre : 30mm
                                              x   Weight : 18 kgs
           
                                               x   Rate of fire: 350-400 per min
                            
                                               x   Ammo load: 30 grenades per box




00106482                                                                      Ghanem_00000241-08

                                 Ghanem_Sentencing_00000762
  Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 42 of 174 Page ID #:6183




                    GATEWAY TO MENA
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               x Mine Launcher ǸǺǱȁ-2

           
                                                       Launch fragmented fire and
                                                       accumulative warheads
                                                       x Internal units: 8 with mined
                                                       x Mass: 540 kg full container
                                                       x Application altitude 100 -16000m
                                                       x Launch speed: < 500km


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               x Rocket C-24(240mm)

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                                                        x   Range: 2000m
                                                        x   Calibre : 23mm x 2 barrels
                                                        x   Speed: 550 m/sec
                                                        x   Rate of fire: 3/400 rounds per sec
                                                        x   Ammo load: 250 rounds



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00106482                                                                                Ghanem_00000241-09

                                       Ghanem_Sentencing_00000763
    Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 43 of 174 Page ID #:6184




             GATEWAY TO MENA
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-XO\
*DWHZD\WR0(1$5HIHUHQFH1XPEHU2,4KHUHE\VXEPLWDQRIILFLDORIIHURI2(0 2ULJLQDO(TXLSPHQW0DQXIDFWXUHU 
PLOLWDU\ZHDSRQV
                                                                                                                                                                    
                                                                        <HDURI
     ʋ                           ,WHPV                                                 2ULJLQ            4XDQWLW\          3ULFHSHU,WHP                 7RWDO3ULFH
                                                                        0DQXI
                                                                                                                                    86'                          86'
                                                                                                                                                               
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                        6XNKRL6X                                                                                                                         
                                                                       
                     PRQWKVIRUGHOLYHU\                                            *HRUJLD                                              
                                                                         QHZ
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                                                                       *HRUJLD                                                            
                     PRQWKVIRUGHOLYHU\
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           =38PP8ODQ8GH0,                                                                                                                             
           $HULDO*XQVKLSV                                                                                                                                      
           VXEMHFWWRH[SRUWFOHDUDQFH                                                                                                                          
           &UHZHGD3HU                                                                                                                           
           0RQWKPLQLPXPPRQWKV                                                                                                                              
           FRQWUDFWSLORWVLQFOXGLQJ                                                                                                                      
           LQVWUXFWRUVVHUYLFHWHFKQLFLDQV                                                                                            
                                                                                         58                  
           DQGPHFKDQLFV                                                                                                       
            3HUXYLDQ0H[LFDQ%HORUXVVLDQ
           QDWLRQDOLWLHV *6(VXSSRUW
           KRXUVEHIRUHQH[WRYHUKDXO
           ,QFOXGHV[60.2
           URFNHWVZLWKSRGV8%
           [)DEERPEV
            7UDQVSRUW+HOLFRSWHUV0L 0L                                                                                                                     
              079 ZLWKWKHIXVHODJHDQG                                                                                                      
                                                                                     58                 
              PDLQDJJUHJDWHVXQGHUJRQHD                                                                                           
                    FRPSOHWHRYHUKDXO
             0L)XOO\UHIXUELVKHGSDLQWHG                                                                                                                    
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             LQ&OLHQWFRORU[&3RGV                            
                                                                                         8NUDLQH                                             
                         *XQVKLS
             0L)XOO\UHIXUELVKHGSDLQWHG                                                                                                                    
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             LQ&OLHQWFRORU[&3RGV                            
                                                                                         8NUDLQH                                              
                         *XQVKLS
              2EVHUYDWLRQDQG6XUYHLOODQFH                                              86$                                                          
             %DOORRQZLWK/DVHUDQGURFNHW                                             8NUDLQH                                                       
                                                                        1HZ
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                         ODXQFKHU                                                                                                          
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          00106491                                                                                                            Ghanem_00000241-0001


                                                             Ghanem_Sentencing_00000764
    Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 44 of 174 Page ID #:6185


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                                                      <HDURI
        ʋ                        ,WHPV                             2ULJLQ   4XDQWLW\         3ULFHSHU,WHP        7RWDO3ULFH
                                                      0DQXI
                                                                                                      86'                 86'
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                      PP0RUWDU6KHOOV                      56                                

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                             6QLSHU5LIOH69'                                                                    
                                                    1HZ           58                              
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                           îPP5              1HZ           %+                 .          

                          3.0DFKLQH*XQ                                                                         
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                            %LSRG6WRFN
                       'VKN0DFKLQH*XQ                                                                     
                                                              58                               
                            7ULSRGVWRFN
                                                                                                                  
                      53*/DXQFKHUV                       58                                 
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                      3*9/77DQGHP               1HZ           %*                              

                               $.5LIOHV                                                                       
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                    îPP$PPXQLWLRQ                     58              .          
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                           63*.RS\H            1HZ           %*                                
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                  00106491                                                                   Ghanem_00000241-0002


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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 45 of 174 Page ID #:6186




                        GATEWAY TO MENA
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N- Items                                         Yearof       Quantity Priceper TotalPrice Origin
                                                                   Ready    ItemUSD USD
                                                    Manuf
                                                                   Ship
1.    $.ZRRGVWRFN                         6WRFN         1,000         $360          $360,000     Russia
        DaysForshipping:Immediatelyafter      
        EUCisapprovedbygovernmentof
        Export
2.    53*$QWL7DQN/DXQFKHUPP          6WRFN         55            $2,200         $121,000     Russia
        DaysForshipping:Immediatelyafter                    Launchers
        EUCisapprovedbygovernmentof
        Export
3.    3*2 [ RU8397HOHVFRSLFVLJKW   6WRFN         55Sights     $1,890        $103,950    Russia
4.    RPGͲ7                                    Stock         55                                         
                                                                   Launchers     $2,300        $126,500     Russia
5.    PGOͲ7(2.7x)orUPͲ7VTelescopesight     Stock         55sights     $1,950        $107,250     Russia
6.    PGͲ7VL85mmHeatProjectiles              Stock         20,000                                     
                                                                   projectiles   $480          $9,600,000   Russia
7.    BlackArrow9312.7X108sniperrifle    2014          50            $18,000       $900,000     Serbia
        with8x32optics
8.    ORSIS5000.338LPSniperRifle           2014          100           $17,000       $1,700,00    Russia
9.    ZPUͲ14.5mm                                1984+         10            $44,000       $440,000     Russia
10.   PK/PKSMachineGun                        1987+         449           $4,500        $2,020,500   Russia
11.   5.45mmTantalwz.88                       1999+         2,500         $400          $1,000,000   Poland
12.   RPG2Launchers                            1986+          1500           $2,300         $3,450,000    Russia
13.   SPG9Kopye                                1986+          3              $22,000        $66,000      Russia
14.   ZSUͲ23Ͳ4Shilka                           1980(3       3              $650,000       $1,950,000    Russia
                                                    monthsfor
                                                    shipping)
15.   Dushk–M12,7mm                            60daysfor   200           $13,200       $2,640,000   Russia
                                                    shipping
16.   14mmtowedmachineGunsingle             21daysfor   30                             
        Barrel                                     shipping                     $12,900       $387,000     Croatia
17.   14.5mmGunZPU                            40daysfor   100                            
                                                    shipping                     $7,900        $790,000     Chez
18.   14.5mmKPV/TGun                          40daysto                                   
                                                    ship          30            $3.200         $96,000     Chez
19.   ZUͲ23Ͳ2A.AMachinegun2Barrel          60daysto                                               
                                                    ship          30             $49,000       $1,470,000   Russia
20.   7.62X54mmPKMMachineGunBiͲpod 60daysto           450           $4,200        $1,890,000   Russia
                                             ship
21.   ThreePodforPKM                  60daysto           450           $820                        
                                             ship
            
        00106491                                                                             Ghanem_00000241-0003


                                            Ghanem_Sentencing_00000766
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                       GATEWAY TO MENA
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N- Items                                       Yearof      Quantity Priceper TotalPrice Origin
                                                                Ready    ItemUSD USD
                                                  Manuf
                                                                Ship
22.   MachineGunPK(M)                        12daysto   350      $2,950        $1,032,500   Bulgaria
                                                ship
23.   PKM7.62mmMachinegun                 45daysto   700      $3,920        $2,744,000   Yugoslavia
                                                  ship
24.   0DFKLQH*XQ3. 0                      45daysto   700      $2,300        $1,610,000   Croatia
                                                  ship                                                  Refurbished
25.   PKM7.62mmMachineGun                  45daysto   700      $3,920        $2,744,000   Yugoslavia
                                                  ship
26.   7.62X54mmMachineGuntypeUKͲ59       30daysto   500      $1,275        $637,500     Chez
        withFpldedorFixedstock               ship
27.   LongRangeSniper                        60daysto   100      $14,200        $1,420,000   Serbia
                                                  ship
28.   RPG7A.TLauncher                       60dayto    400      $2,190        $876,000     Russia
                                                  ship
29.   RocketLauncherRPG                      45daysto   500      $1,480         $740,000     Croatia
                                                  ship
30.   RocketLauncherRPGͲ7(v)                 14daysto   700      $1,790        $1,253,000   Bulgaria
                                                  ship
31.   SPG9completewithopticalscope+ZIP   45daysto   50       $13,750       $687,500     Chez
        1:1                                      ship
32.   AK47refurbished3magazinesfixedor   45daysto   20,000    $180           $3,600,000    Croatia
        foldedstock                             ship
33.   AKM(S)7.62X39                         12daysto   20,000    $270           $5,400,000    Bulgaria
                                                  ship
34.   VͲ58Assaultrifle7.62X39mm             30daysto   4000      $150           $600,000     Chez
                                                  ship
35.   23mmZSUͲ4ShilkaTank                   60daysto   4        $180,000       $720,000     Russia
                                                  ship
36.   AK47MͲ707.62X39mm                  Readyto     12,000    $195           $2,340,000    Serbia
                                                  ship
37.   RPKMͲ727.62X39mm                     Readyto     2,800     $245           $686,000     Serbia
                                                  ship
38.   PKMMͲ84                                Readyto     1200      $1,785         $2,142,000    Serbia
                                                 ship                                                
        Tripod                                                          $600          $720,000     Serbia
             

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        00106491                                                                     Ghanem_00000241-0004


                                          Ghanem_Sentencing_00000767
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 47 of 174 Page ID #:6188




                     GATEWAY TO MENA
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N- Items                                Yearof        Quantity Priceper TotalPrice Origin
                                                           Ready    ItemUSD USD
                                           Manuf
                                                           Ship
39.   60mmMortarM57Bipod            New40         100      $2,300         $230,000   Bosnia
                                         daystoship
40.   60mmMortarM70BipodCommando   New40         100      $3,200        $320,000   Bosnia
                                           daystoship
41.   PP0$0RUWDU%L3RG           New40         30       $3,180        $95,400    Bosnia
                                           daystoship
42.   60mmMortarM70                   Readyto       100      $2,680        $268,000   Yugoslavia
                                           ship
43.   60mmMortarM57                   Readyto       200      $3875         $775,000   Yugoslavia
                                           ship
44.   82mmMortarM69A                  Readyto       100      $4500         $450,000   Yugoslavia
                                           ship
45.   120mmMortarM75                  Readyto       25       $14,000       $350,000   Yugoslavia
                                           ship
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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 48 of 174 Page ID #:6189




                        GATEWAY TO MENA
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N- Items                                      Yearof     Quantity     Price    TotalPrice Origin
                                                              ReadyShip
                                                 Manuf                     perItem USD
                                                                            USD
46.   [PP /RRVH                       6WRFN       3,000,000     $.17         $510,000     Russia
        $.$PPXQLWLRQ                        
        DaysForshipping:Immediatelyafter
        EUCisapprovedbygovernmentof
        Export
47.   [PP %HOWHG                      6WRFN       1,000,000    $.39        $390,000     Russia
        3.0$PPXQLWLRQ                          
        DaysForshipping:Immediatelyafter
        EUCisapprovedbygovernmentof
        Export
48.   3*95PP+($77DQGHP                 1HZRU                                              
        3URMHFWLOHVDaysForshipping:         6WRFN       1,000        $695        $695,000     Russia
        ImmediatelyafterEUCisapprovedby    
        governmentofExport
49.   PGͲ7VR85mmHEATProjectiles          Newstock   2,000      $650          $1,300,000   Bulgaria
50.   Ammunition7.62X54forPKC            1975        1,000,000   $.25           $250,000     Russia
51.   Ammunition7.62X39forAK47          1975        1,000,000  $.18          $180,000     Russia
52.   [PP /RRVH                       1984+       30,000,000 $.15          $4,500,000   Ukraine
        $.$PPXQLWLRQ
        
53.   RPGͲ75cartridge68mm                 90’s+       9,000         $820        $7,380,000   Bulgaria
           




        00106491                                                                     Ghanem_00000241-0006


                                           Ghanem_Sentencing_00000769
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                                                                   Unit          TotalPrice
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                                                                 PriceUSD          USD
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  ͶǤ     ǦʹͶ                                   ͳͲ            ̈́ͻͲͲǡͲͲͲ      ̈́ͻǡͲͲͲǡͲͲͲ
  ͷǤ     ǦʹͶ                                    ͸          ̈́ͳǡͺͲͲǡͲͲͲ     ̈́ͳͲǡͺͲͲǡͲͲͲ
  ͸Ǥ    ǦͺͲ                                   ʹͲͲ        ̈́ͳͻͲǡͲͲͲ        ̈́͵ͺǡͲͲͲǡͲͲͲ
  ͹Ǥ    Ǧͳʹǡ͹                            ʹͲͲ         ̈́ͳ͵ǡͺͲͲ         ̈́ʹǡ͹͸ͲǡͲͲͲ
  ͺǤ    ͳͶǡͷ                                ʹͲͲ         ̈́ͳͶǡͺͲͲ         ̈́ʹǡͻ͸ͲǡͲͲͲ
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  ͳͳǤ   ͹͸ʹ                                  ͶͷͲ           ̈́ͶǡͶͺ͸       ̈́ʹǡͲͳͺǡ͹ͲͲ
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  ͵ͳǤ   Ǧ͵Ͳ                                 ͳͲͲ          ̈́ʹ͸ǡͲͲͲ       ̈́ʹǡ͸ͲͲǡͲͲͲ
  ͵ʹǤ   Ǧʹ                                       Ͷͷ          ̈́ͳͺǡͺͲͲ        ̈́ͺͶ͸ǡͲͲͲ



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                                       Ghanem_Sentencing_00000770
                  Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 50 of 174 Page ID #:6191




                       GATEWAY TO MENA
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                                                                                                       
                                                                                   8QLW
                                       ,7(06                       47<         SULFH            7RWDOSULFH           3URGXFWLRQ
                                                                                   86'
                5RXQGZLWKDQWLWDQNJUHQDGH3*±9 90                                    
                5RXQGZLWKDQWLWDQNJUHQDGH3*                                           DIWHU
                  5RXQGIRU53*ZLWKDQWLSHUVRQQHOJUHQDGH
                                                                                            
                  2*±9
                5RXQGZLWKDQWLWDQNJUHQDGH3*±9                                      
                  5RXQGIRU63*ZLWKDQWLSHUVRQQHO
                                                                                            
                  JUHQDGH2*±9
                $70LVVLOH6\VWHP.21.856                                                    
                /DXQFKHU30                                                
                0LVVLOHɆ                                                   
                &DUWULGJH[PP                                                   DIWHU
                PP $3,$3,7                                                        DIWHU
                PP $3,$3,7                                                        DIWHU
               PP5RFNHWIRU%00/56                                               DIWHU

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               0DFKLQH*XQ3. 0                                                      
                                                                                                                     VWRFNXQXVHG
                                                                                                                        1HZIURP
               /LJKW$QWLWDQN5RFNHW/DXQFKHU53* 9                              
                                                                                                                     VWRFNXQXVHG
                                                                                                                        1HZIURP
               [PP$.0 6 $VVDXOW5LIOH                                    
                                                                                                                     VWRFNXQXVHG




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                                                      Ghanem_Sentencing_00000771
     Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 51 of 174 Page ID #:6192




            GATEWAY TO MENA
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    3RUBD                                               <HDURI                     Unit
               7\SH           'HQRPLQDWLRQ                      2ULJLQ   47<                 TotalPrice$
     EV                                               SURGXFWLRQ                    Price$



          $PPXQLWLRQ PP+(IRU7                    58      $142.86 $5,000,000.00
          $PPXQLWLRQ PP+($7IRU7                  58       $131.43        $854,285.71
          $PPXQLWLRQ PP+(IRU07                   58       $157.14 $1,131,428.57
          $PPXQLWLRQ PP+($7IRU07                 58       $144.29         $1,226,429
          $PPXQLWLRQ PP$3)6'6IRU07               58       $158.57         $1,506,429
          $PPXQLWLRQ PP+(IRU7                    58       $448.57         $3,364,286
          $PPXQLWLRQ PP+($7IRU7                  58       $407.14           $814,286
          $PPXQLWLRQ PP$3)6'6IRU7                58       $442.86         $1,815,714
          $PPXQLWLRQ PP3*9IRU%93               58      $100.00         $6,000,000
                        PP2*90IRU%93
          $PPXQLWLRQ                                        58      $115.71         $5,206,950
                        
         $PPXQLWLRQ 3*9IRU53*                       58       $134.29         $1,208,571
         $PPXQLWLRQ PP+(IXOOIRU'               &=      $307.14         $4,207,857
                        PP+(UHGXFHGIRU'
         $PPXQLWLRQ                                        &=       $330.00         $1,603,800
                        
         $PPXQLWLRQ PP+($7IRU'                  58       $222.86         $1,136,571
                        PP+(*5$'IRU%0
         $PPXQLWLRQ                                        &=       $467.14         $3,737,143
                         RU50F]HFKYHUVLRQ 
                        PP+(*5$'IRU%0
         $PPXQLWLRQ                                        58           $250.00                  $0
                         RU50F]HFKYHUVLRQ 
                        PP+(IRU'6
         $PPXQLWLRQ                                          &=      $400.00         $6,000,000
                        '$1$
         $PPXQLWLRQ PP+(IRU0                      58      $440.00        $17,600,000
                        PPPLQHV+( IRUPP
         $PPXQLWLRQ                                        58          $88.57      $6,885,700
                        LQIDQWU\PRUWDU 
                        PPPLQHV+( IRU
                                                                                                   $4,500,000
         $PPXQLWLRQ PP35$0ZHDSRQVVHOI                 58      $100.00
                        SURSHOOHGPRUWDUV\VWHP 


            00106491                                                       Ghanem_00000241-0009


                                       Ghanem_Sentencing_00000772
    Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 52 of 174 Page ID #:6193




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                                                                                  
                      [PP36GR$.                    
       $PPXQLWLRQ                                    58                $0.14        $7,817,857
                      6$HWF                                   
                      [PP/36IRU3.7                   
       $PPXQLWLRQ                                    58                $0.14       $13,571,429
                      3.08.HWF                              
                      [PP%IRU                       
       $PPXQLWLRQ                                    58                $0.17        $2,228,571
                      3.73.08.HWF                         
                                                                    
       $PPXQLWLRQ PP2)=IRU=8               58               $12.14       $20,642,857
                                                                         
                                                                    
       $PPXQLWLRQ PP%=7IRU=8               58               $11.14        $6,908,571
                                                                          
                                                                    
       $PPXQLWLRQ PP2)=7IRU*6               58                $8.34        $1,251,429
                                                                          
                        PP+(ORQJUDQJH XSWR
       $PPXQLWLRQ                                    &=(    $380.00          $3,800,000
                        NP 




          00106491                                                  Ghanem_00000241-0010


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                                                                          4XDQWLW\
                                             ,WHP               &DOLEHU                   3ULFH 86'               7RWDO3ULFH             5HPDUN
                                                                            SFV
                              0RUWDU                                                 QHZ
                              0RUWDU                                                                         5HIXUELVKHG
                              0RUWDU                                                                         5HIXUELVKHG
                                                                                                                                  5HIXUELVKHGZLWKELSRGRQHELJ
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                                                                                                                                  5HIXUELVKHGZLWKPDJD]LQHV
                              0 53.W\SH ([<X             [                                              H[WUDPDJD]LQHVDYDLODEOHDW
                                                                                                                                  SULFHRI86'
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                              53*                                                                                 PRVWO\
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                              $PPXQLWLRQ                       [                                  6WHHOFRUH(DVWHUQSURGXFWLRQ
                                                                [
                              $PPXQLWLRQ                                                                    5XVVLDQDQG&KLQHVHSURGXFWLRQ
                                                                   
                                                                                                                                                                     Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 53 of 174 Page ID #:6194




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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 54 of 174 Page ID #:6195




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT       702

                                               DATE                                IDEN.

                                               DATE                                EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00000775
   Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 55 of 174 Page ID #:6196


   From:       Rami Ghanem <ramithe@gmail.com>
   Sent:       Tuesday, November 18, 2014 8: 13 AM
   To:         Mohd <aldaboubim@gmail.com>
   Subject:    FW: Mi24infodetai1 conf
   Attach:     Mi24infodetail_conf.pdf




00095732.pdf                                                           Ghanem 00000241
                                   Ghanem_Sentencing_00000776
   Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 56 of 174 Page ID #:6197




                 fndicative offer for sale of Mi-24V helicopters


                  r .OM Praha s.p. presents the indicative offer for sale of 6 Mi-24V. Helicopters are registered
          in military register under the numbers 0702, 0710, 0788. 0790. 0815, 0835.
                  Helicopters are recently located at 22°d Czech Air Force Base in Sedlec-Vinice. Helicopters
          are stored, conserved and pertodically maintained according to OEM maintenance rules.
                  For each helicopter is offered also ground equipment l :1 for basic maintenance, and weapon
          systems (moveable front Gatling 4 barrel gun caliber L2,7 mm 9A-624, 4 pcs ofUB-32A-24 57 nun
          rocket pods and 2pcs of anti-1ank m1ssiles launchers Sturm RP2-l49TK).


                                                  HELICOPTER DATA

                                                       MI-24V Helicopter

          Manufacture no.: 730702
          Y car of manufacture: 31. 10. 1985
          Jn service from od: 31.10.1985
          No. of Overhaul performed - l
          Last Overhaul performed 1.9.2003
          Flight hours since production: 2719 hours, 24 minutes, 6852 landings
          Flight hours since last Overhaul 723 hours. 25 minutes
          TBO: 7 years, 1000 flight hours
          Technical life from manufactmer is 26 years, 3000 l:light homs
          The residual of technical life: 0 years and Omonth.s ; 280 :flight hours, 36 minutes
                                         ..
                                                                              Residual till the
                                                           Flight from last   end of technical    total flight
          Helicopter              0702          Last GO          GO                 life             hours
          Enaine TV-3-117    2257854803010         -        ..
                                                                     -          3333:00:00        1167:00:00
          Enoine TV-3-117    7087851103088       3.GO            225:48:00      1517:10:00         982:50:00
          Main rotor head    92024172046         1. GO           944:25:00      355:35:00         1644:25:00
          Tail rotor head    MCHA01 7103           -                 -          1888:51:00         111:09:00
          Ai-9V              2250924700727       1. GO           55:30:00       449:58:00          150:02:00
          GearboxVR-24        L9102085           1 GO            333:16:00      1672:59:00        1327:01:00

          Helicopter was maintained according 10 OEM rules for Mi-24V/35.




                                                       MI-24V Helicopter
          Manufacture no.: 730710
          Year of manufacture: 19. 10. l 985
          Jn service from od: 19. l 0. 1985
          No. of Overhaul performed - 1
          Last OverhauJ performed 23. 6. 2005
          Flight how-s s ince production: 2237 hours, 19 minutes, 5542 landings
          Flight hours since last Overhaul 349 hours, 36 minutes
          TBO: ?years, l 000 flight hours




00095733.pdf                                                                                           Ghanem 0000024 1
                                              Ghanem_Sentencing_00000777
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 57 of 174 Page ID #:6198




      Technical life from manufacturer is 26 years, 3000 Oight hours
      The residual of technical life: 0 y ears and O months : 762 flight hours , 4 1 minutes

                                                                            Residual till the
                                                         Flight from last   end of technical     total flight
      Helicopter              0710          Last GO            GO                  life             hours
      Engine TV-3-11 7   7087852703306       1.GO           349:34:00         11 52:47:00        1347: 1300
      Engine TV-3-11 7   7087854703411       1.GO           349:34:00         11 51:31 :00       1348:29:00
      Main rotor head    92024253027         1.GO           42311 :00           77:53:00         1922:07:00
      Tail rotor head     MCH-9810029           -               -             1486:4'1 :00        513: 16:00
      Ai-9V              2250921700202       1.GO           39.19:00           498:31:00          101.29.00
      GearboxVR-24        L7103157           1.GO          756 59:00          1740: 11:00        1259:49:00

      H elicopter was maintained according to OEM rules for Mi-24V/ 35.


                                                    MJ-24V H elicopter
      Manufacture no.: 730788
      Year of man ufacture : 30.5.1987
      In service from : 30. S. 1987
      No. of Overhaul performed l
      Last Revision performed: 2.4.2004
      Flight ho urs since production: 1614 hours, 26 mi nutes,.3877 l andings
      Flight hours since last OverhauJ: 730 hours, l minule
      TBO: 7years, I000 flight hours
      Technical life from manufacturer is 26 years, 3000 flight hours
      The resid ual of teclmical life: 1 year and ?months; 1385 flightl10urs, 34 minutes

                                                                            Residual till the
                                                            Flight from     end of technical    total flight
      Helicopter              0788           Last GO          last GO             life            hours
      Engine TV-3-11 7   7087852 503012       2.GO           734:17:00         726.10:00        1773:50:00
      EnQine TV-3-11 7   7087852 903004       1.GO          664:24:00          841 :55:00       1658:05:00
      Main rotor head    92024253183          1.GO           734:17:00         326:07:00        1673:53 00
      Tail rotor head     MCHG124103            -                   -         1358:27:00        641 33:00
      Ai-9V              9050922100014          -                   -          21.4.2011         66:1 2:00
      GearboxVR-24       L7307556             1.GO          734:17:00         1266:47:00        1733:13 00

      H elicopltjr wa-s maintained m:cording to OEM rules for Mi-24V/ 35.




                                                    Ml-24V Helicopter

      Manufacture no.: 730790
      Year of manufacture: JO. 6. 1987
      In service from: 10.6.1987
      No. of Overhaul performed- I
      Last Overhaul performed: 13. 6. 2005
      Flight hours since production: 2211 hours, 32 minutes. 5265 landings
      From last revision: 730 hours, 30 minutes




                                                                                                      Ghanem 00000241
                                       Ghanem_Sentencing_00000778
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      TBO: 7years, 1000 flight hours
      Technical life from manufacturer is 26 years, 3000 flight hours
      The residual of technical life: 1 year and 8 months; 788 flight hours, 28 minutes

                                                                            Residual till the
                                                       Flight from last     end of technical      total flight
      Helicopter               0790     Last GO               GO                  life               hours
      Enoine TV-3-117     7087851803491  1.GO             572:17:00           1364:25:00          1135:35:00
      Enoine TV-3-117     7087852103206  2.GO             730:30:00            538:50:00          1001: 10:00
      Main rotor head     92024152709    1.GO             208:39:00           1295:12:00           704:48:00
      Tail rotor head      MCHA014103       -                    -            1852:56:00           147:04:00
      Ai-9V               2250922100188  1.GO                71 :50:00         409:55:00           190:05:00
      GearboxVR-24        L0108020       1.GO               891 :11:00         382:30:00           988:00:00

      Helicopter was maintained according 10 OEM rules for Mi-24V/35.


                                                  Ml-24V Helicopter
      Manufacture no.: 730815
      Year of manufacture: 30. 11. 1987
      In service from : 30. 11. 1987
      No. of Overhaul performed - 1
      Last Overhaul performed: 1 1. 5. 2004
      Flight hours since production: 2346 hours, 52 minutes, 6031 landings
      Flight hours since last Overhaul 862 hours. 14 minutes
      TBO: 7years, l 000 flight hours
      Technical life from manufacturer is 26 years, 3 000 flight hours
      The residual of technical life: 2 years and l month; 653 tlight hours, 8 minutes

                                                        '                 Residual till the
                                                      Flight from last    end of technical      total flight
      Helicopter               0815       Last GO           GO                  life              hours
      Enoine TV-3-11 7    7087851703407    1.GO             865:36:00       634:2400            1865:36 00
      Enoine T V-3-1 17   7087854703406    1.GO             865:36:00       635:29:00           1864:31:00
      Main rotor head     92024173126      1.GO             865:36:00       136:54:00           1863:06:00
      Tail rotor head     MCHB 048103         -                 -           1171 :18:00          828:42:00
      Ai-9V               2250924700728    2.GO             40:55:00        499:23:00            100:37:00
      GearboxVR-24        L2021 1002          -                 -           2100:00:00           900:00:00

      Helicopter " 1as maintained according 10 OEM rules for Mi-24V/35.

                                                  MJ-24V Helicopter

      Manufacture no.: 730835
      Year of manufacture: 28. 4 . 1988
      In service from : 28. 4. 1988
      No. of Overhaul performed 1
      Last revision performed: 11. 8. 2011
      Flight hours since production: 2257 hours, 49 minutes, 5421 landings
      Flight hours since last Overhaul 760 hours, 18 minutes,
      TBO: 7 years, l 000 flight hours




                                                                                                      Ghanem 00000241
                                        Ghanem_Sentencing_00000779
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 59 of 174 Page ID #:6200




      Technical life from manufacturer is 26 years, 3000 Oight hours
      The residual of technical life: 2 years and 6 months; 742 flight hours, 11 minutes

                                                                       Residual till the
                                                    Flight from last   end of technical    total flight
      Helicopter              0835      Last GO            GO                life             hours
      Engine TV-3-11 7   7087851903263   1.GO          220:04:00         1600:55:00         899:05:00
      Engine TV-3-11 7   7087853703203   1.GO          329:23:00         1311:30:00        11 88:30:00
      Main rotor head    24104S9           -               -             1900:51 :00         99:09:00
      Tail rotor head     MCH3010353     1.GO          564 :56:00        1027:11:00         972:49:00
      Ai-9V              905092110011 4    -               -              523:09.00          76.5 1.00
      GearboxVR-24       L8101014        1.GO          760:18:00         1240:47:00        1759: 13:00

      H elicopter was maintained according to OEM rules for Mi-24V/ 35.




                                                                                                Ghanem 00000241
                                      Ghanem_Sentencing_00000780
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                                                     UNITED STATES OF AMERICA
                                                VS.     GHANEM

                                               PLAINTIFF=S EXHIBIT          703

                                               DATE                               IDEN.

                                               DATE                               EVID.

                                               BY
                                                             DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00000781
   Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 61 of 174 Page ID #:6202


   From:                          Tomer Avnon <tomer@tarideal.com>
   Sent:                          Wednesday, March 25, 2015 11 :13 PM
   To:                            Rami Ghanem <ramithe@!:,'1T1ail.com>
   Subject:                       Re: stock
   Attach:                        image001.jpg



   OK will send you information later

   Sent from my Huawei Mobile

   -------- Original Message --------
   Subject: RE: stock
   From: Rami Ghanem
   To: Tomer Avnon
   CC:

   Tam very interested in the MT 24 QTY 2 ready to go ..... but not the one with Musa.

   Thanks




   till&NIIJJ 'lfl .l!IBIUL /ti!Jl1!Q
   Egypt Office
   CompleK 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   lternational #: +37282432246
   Telephone# 00201127999552
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe@gmail.com or ra111i1n1caravana111e.com
   US Telephone: 772 675-4363                          Skype Address: caravanam~

    The lnformuion contained i'I th s m?ssage ii for the lnteided addressee only and may contain confidtntlal and/orprli.Ueged Information. If you art not the Intended acdressee. thk messate w II self destruct so
    notify the sender. do not copy or distribute this message or dsclose Its co,terts to anvone. Any views or opinions expresse.:f In this message are thos.e d the author and do not nece>sarly repre;.ent tho~ of CWE or
    of ;Jll'ly d it~ .J~i.Jtcd comp.:inie~. No rcli.1noc m;)y be pNcCC on thi:- m¢:'.u,;,ce without writter corifirtl'vtlOf'I frqm ,1n .11,1t ho·i.::cd rcpre~entv:ivc of the cqmp;iny,




                          Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                               Before you speak »Listen
                                                                               Before you write »Think
                                                                               Before you spend »Earn


00085835.pdf                                                                                                                                                                              Ghanem 00000241
                                                                             Ghanem_Sentencing_00000782
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                                      Before you pray »Forgive
                                       Before you hurt »Feel
                                       Before you hate »Love
                                        Before you quit >>Try
                                        Before you die »Live

                                                That's Life ...



From: Tomer Avnon [mailto:tomer@tarideal.com]
Sent: Wednesday, March 25, 2015 3 :30 PM
To: 'Rami Ghanem'
Subject: stock




                                1Mn TAR
Hi
we have M124 & M129 available

Tomer A vnon
President
TAR Ideal Concepts Ltd.
Tel: +972-3-691-4564
Fax: +972-3-695-5477
!omeI..._~rideal .com
www.tarideal.com
Mobile: +972-544 88 27 88
Skype: tomeravnon




                                                                    Ghanem 00000241
                                      Ghanem_Sentencing_00000783
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                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT            704

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00000784
   Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 64 of 174 Page ID #:6205


   From:                             Rami Ghanem <ramithe@gmail.com>
   Sent:                             Monday, March 30, 2015 6:59 AM
   To:                               Tomer Avnon <tomer@tarideal.com>
   Subject:                          RE: MI24




   Ok what type of arms does it include?




   6.&NIIJI ~I# .J!EBIOJ_                                                  /G!J'l!Q
   Egypt Office
   Comple>< 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   lternational #: +37282432246
   Telephone# 00201127999552
   Jordan Office

   Tel: 962 6 56&562-l
   Fax: 962 6 5685625
   ramithe(tv,gmail.com or ram.i@caravaname.com
   US Telephone: 772 675-4363
                            Skype Address: .£~.!:i!Y.im.M.m~

    Thf! inform.ltinn cont.1ir,f!:d rt th s m~!a,.tgP. i!i. for thP. inte'lded -1ddre!..'.P.e only and may cont.ain confidf!ntial .tnd/nrprl\de.e.ffl infnrm.:ation. If you Me not the Intended acdre-s.see. thk mf!S!.,;i.£.P. w II self destruct~
    notify the sendet; do not copy or distribute this r't'le$$~&e or d.sclose its eo,terts to anvone. Any views or opinions exs:,ress.e-i In this memce are those d the author and do not nece;,sar ly represent tho;.e of ewe or
    ol wny d Its associated companies. No relianre may be p~ced on this m~ge without wrltter conlirrration from an autho·ized representa:ive of the company.




                            Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                                       Before you speak »Listen
                                                                                        Before you write »Think
                                                                                        Before you spend »Earn
                                                                                       Before you pray >>Forgive
                                                                                         Before you hurt »Feel
                                                                                         Before you hate »Love
                                                                                          Before you quit »Try
                                                                                          Before you die »Live

                                                                                                          That's Life ...




00085574.pdf                                                                                                                                                                                                    Ghanem 00000241
                                                                                      Ghanem_Sentencing_00000785
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 65 of 174 Page ID #:6206


From: Tomer Avnon [mailto:tomer@tarideal.com]
Sent: Monday, March 30, 2015 10:59 AM
To: 'Rami Ghanem'
Subject: Ml24




                                 1Mn TAR
Rami
We have 5 Ml24 available
Price 5,155,000 per unit
EUC required
Delivery 4-8 weeks

Waiting for price & condition for the Ml29

Torner Avnon
President
TAR Ideal Concepts Ltd.
Tel : +972-3-691-4564
Fax: +972-3-695-5477
tomer@tarideal.com
www.tarideal.com
Mobile: +972-544 88 27 88
Skype: tomeravnon




                                                                      Ghanem 00000241
                                         Ghanem_Sentencing_00000786
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 66 of 174 Page ID #:6207




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT       705

                                               DATE                                IDEN.

                                               DATE                                EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00000787
   Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 67 of 174 Page ID #:6208


   F rom:      Gerton Business <gerton.businessll p@gmail .com>
   Sent:       Thursday, April 2, 2015 10:20 AM
   To:         Rami Ghanem <ramithe@!:,'1T1ail.com>
   Subject:    1'11-24D
   Attach:     c})oTo MH-24.zl noc11e KBP (1).JPG; q>oTo Mll-24ll rrocne KBP (2).JPG; c})oTO MJiI-24ll
               nocne KBP.JPG




00084855.pdf                                                                               Ghanem 0000024 1
                                    Ghanem_Sentencing_00000788
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    00084856                                                Ghanem_00000241


                            Ghanem_Sentencing_00000789
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    00084857                                                Ghanem_00000241


                            Ghanem_Sentencing_00000790
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    00084858                                                Ghanem_00000241


                            Ghanem_Sentencing_00000791
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                                               CASE NO.      CR 15-0704 (A)-SJO

                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT         706

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00000792
   Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 72 of 174 Page ID #:6213


   From:       Gerton Business <gerton.businessll p@gmail .com>
   Sent:       Saturday, April 4, 2015 11:10 A.VI
   To:         Rami Ghanem <ramithe@!:,'1T1ail.com>
   Subject:    1\11-24 Bulgary clear price
   Attach:     Bulgari clear price.pdf




00084816.pdf                                                           Ghanem 00000241
                                     Ghanem_Sentencing_00000793
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 73 of 174 Page ID #:6214




                                                        HARTFORD UNIVERSAL GROUP LTD.
                                                        SOFIA, Blvd. BULGARIA 45, FL. 2, OFFICE 5
                                                        LICENSE á 11.00-291-1/19.07.2013
                                                        LICENSE á 11.00-616-3/02.10.2014
                                                        ID: 200782845, VAT: BG200782845
                                                        Tel: +359 897 036 017, +359 897 975 951
                                                        E-mails: office@hartford-unig.com
                                                                    hartford-unig@mail.ru

         Ref.No.00215/03.04.15

                                  Subj.: Offer for Helicopter Mi-24

         Dear Sir,

         We are pleased to present to your kind attention our commercial proposal as follows:

         Technical Specifications:
         Basic data                            Mi-24V                          Mi-24D
         Built                                  1971                            1972
         Crew.                                   3                                3
         Number of passengers                    8                                8
         (airborne)
         Engine Type                         TV3-117V                         TV3-117
         Engine power, hp                     2 x 2225                        2 x 2200
         Rotor diameter                         17.3                            17.3
         Weight of empty                        8500                            8340
         helicopter
         Takeoff weight, kg
         normal                                 11200                           11100
         maximum                                11500                           11500
         The weight of cargo, kg
         normal                                 1500                             1500
         maximum                                2400                             2400
         on the external                        2000                             2000
         suspension
         Flight speed, km / h
         maximum                                320                              320
         Cruising                               264                              270
         Hovering ceiling                       2000                             1300
         without the influence of
         the earth, m
         Service ceiling, m                     4600                             4500
         Practical flight range,                595                              595
         km
         Ferry range, km                        1000                             1125



                                                                                        Page 1 of 7


        00084817                                                           Ghanem_00000241


                                 Ghanem_Sentencing_00000794
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 74 of 174 Page ID #:6215




         Armament:

         Front Gatling 4 barrel gun caliber 12.7x108mm 9A624               1 pcs.
         UB-32 rocked pod                                                  2 pcs.
         UB-16 rocked pod                                                  2 pcs.

         Universal gun pod UPK-23-250 with GSh-23mm canon                  2 sets

         Machine Gun 7.62x54mm PK                                          1 pcs.


         Commercial Proposal:

         №   Description            Condition            Qty./Pcs.    Unit price in USD
         1. Mi-24V                  After Major              1            7 000 000
                                     overhaul

         Terms and Conditions of Supply:

            1. Terms of Delivery: FCA/European Airport.

            2. Time of Delivery: Up to 1 (one) month after signing the contract and
               presenting the End-user Certificate.

            3. Terms of Payment:
               30% on signing of contract.
               70% after inspection prior to shipment.


         We express hope and confidence in our long-term mutually and beneficial
         cooperation.




                                                                                    Page 2 of 7


        00084817                                                      Ghanem_00000241


                                Ghanem_Sentencing_00000795
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 75 of 174 Page ID #:6216




         Annex-1 Data Sheet

                                              Existing   Residual    Date of     Flight     Time before
                          Date of    Total
         Type, Factory                        recourse   resource     last       hours      next overhaul
                         Manufact    flight
           number                                        /hours/    overhaul   since last
                           ure.      hours
                                                                               overhaul
          Mi-24D                                3000      1516      29.04.1                     382
                         24.09.19
           /121/                     1484                            993         618
                            84
           410450
         TV3-117V                               4500                25.12.1                     315
                         14.01.19
        70878544034                   835                 3665       989         260
                            85
             29
         TV3-117V                               4500                26.12.1                     176
                         20.06.19
        70878524032                   805                 3695       989         398
                            84
             66
           VR-24         11.04.19               3000                   -                        477
                                      523                 2477                     -
         L9103238           89
                                               3600                 24.10.1      657
           AI-9V                      sme.                sme.
                    09.07.19                   sme.                  990         sme.        143 sme.
        38709224002                  3265                 2734
                       84                      6000                             1291         709 sapu.
            05                       sapu.                sapu.
                                               sapu.                            sapu.




                                                                                            Page 3 of 7


        00084817                                                               Ghanem_00000241


                                    Ghanem_Sentencing_00000796
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 76 of 174 Page ID #:6217




         Annex 2 Photos




                                                                   Page 4 of 7


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                            Ghanem_Sentencing_00000797
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                                                                   Page 5 of 7


        00084817                                          Ghanem_00000241


                            Ghanem_Sentencing_00000798
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                            Ghanem_Sentencing_00000799
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 79 of 174 Page ID #:6220




                                                                  Page 7 of 7




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                            Ghanem_Sentencing_00000800
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                                                         UNITED STATES OF AMERICA
                                                 VS.        GHANEM

                                               PLAINTIFF=S EXHIBIT             707

                                               DATE                                  IDEN.

                                               DATE                                  EVID.

                                               BY
                                                                DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00000801
   Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 81 of 174 Page ID #:6222


   From:           Gerton Business <gerton.businessll p@gmail .com>
   Sent:           Saturday, April 4, 2015 11:12 A.VI
   To:             Rami Ghanem <ramithe@!:,'1T1ail.com>
   Subject:        second MI-24
   Attach:         Resursi l .docx; M11-24.[( .3 q>OTo.jpg; MJ1-24)]..jpg; <POTO MH-24)], rrocne KBP.JPG



   Clear price - 6 150 000 $




00084810.pdf                                                                                    Ghanem 00000241
                                         Ghanem_Sentencing_00000802
   Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 82 of 174 Page ID #:6223




                                         TeXHH'-1.eCKO CbCT08HHe

                   Ha BepTOJieT 1:Vrn-24,[( 6op.n.ett HOMep   00, 3aBO)].CKl1   HOMep   02.

                  1. 1laHHJ1 3a BepTOJieT Mn-2411/ 3aBO,LlCKH HOMep:
        Haqarro Ha eKcnnoaTaUIDI - 1982 r.;
        Ha1Ha-creH o6m, Texm,p::recKvt pecypc 3000 -q_ , 36 ro.11.
        Hapa60TKa OT HaqaJIOTO Ha eKCIIJIOaTa.IDI.a - 1503 q_ l6      M. H   2528 KauaHIUJ.

        lliBoprneH KBP - 24.07.1996 r. (BP3)
        Me>K.uypeMOHTeH pecypc:
             - 1000 Y:I.;
            - l\'le~peMOHTeH cpoK Ha c.rrymoa - 7 ro.11.IIB11
        Hapa6oTKa crre.11. KBP - 303 q_ 16 M. H 675 Kau,attID:I.

                  ~aTa Ha nocne)leH noneT - 05.03.2000 r.



                  1. Liamrn 3a .@HraTemne:

                      1.1.    TB3-117MT cep 3 3as. NQ - .15rn
        )laTa Ha n:pOH3BO.l1.CTBO - 25.03.1989 r .
        06m: TeXHlfqeCKH pecypc - 4500 1I.
        Hapa6oTKa OT uaqanoTO Ha eKCUJlOaTd.UlUI_- 1899 Y. 04         .M.

        H3BoprneH 2-PHKBP - 20 12 r. (L01t[Prahas.p.).
        Me>I<AypeMOHTeH pecypc - 1500 tJ. 10 ro.JJ.H}[H.
        KoHcepBau,IDI .11.0 22.03.2015 r.

                       1.2 . TB3-1 l 7MT 3aB. NQ - .neceH
        )laTa Ha fIPOJl3BO,l1.CTB0 - 13.04.1988 r.
        06UJ, TeXHW-leCKl1 pecypc - 4500 q_
        Hapa60TKa OT Ha-ciaJJOTO Ha eKcnnoaTa.qM51 - 1907 q_ 09 M.
        H3BoprneH 2-PMKBP - 2012 r. (L01v(Prahas.p.).
        Me>Kp;ypeMOHTeH pecypc - l 500 q_, 10 rO.UIIHH (JJ.o 05.03.2017r.).
        KoHcepBal\IDI .11.0 08.03 .2015 r .

                      1.3.   AH-9B   3aB ..M~   38709




00084811.pdf                                                                                  Ghanem 00000241
                                    Ghanem_Sentencing_00000803
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 83 of 174 Page ID #:6224




     )],aTa Ha T1p0H3B0)(CTBO- 17.08.1979 r .
     06m: TeXHH1Iecm pecypc - 6000 or6opa, 3600 3anycKa, 600 q _ (B reHepaTopeH
     pe)1U1M).
     Hapa60TKa OT HaciaJIOTO Ha eI<CTIJIOaTaIJ;l1Jr- 2363 3anycKa, 4534 OT6opa,78   q_   22
     M. (B reH. pe)IGIM), 223 48 M. (nbJIHO BpeMe)
                                 q_

     lI3BbpWeH rrocne,a:eH KBP -2013 r. (3AO ,,,Il;B11raTem1 BK-MC").
     Me>K,1:rypeMOHTeH pecypc - 600 3anycKa, 1000 oT6opa, 100 q _ (B reH. pe)lon,1), 170
     q_ (o6ma Hapa6orKa), KaTie,n:apeH cpoK Ha crryx<6a 6 ro)IHHM.
     KoHcepB11paH Ha 31.05.2013 r.


                  2. llattHH 3a rJiaBHMJI. pe,l{YKJOp:

                  BP-14 3aB. N2 JI 7308580
     )],aTa Ha              17.08.1987 r .
                 apOH3BO.LI.CTBO -

     06m Texmrq-ecKH pecypc - 3000 q _
     Hapa60TKa OT HatJ:arrOTO Ha eKCIIJ10aTarr.1u1 - 13 22   q,   07 M.
     lI3BopIUeH 1-aH KBP-20l2 r. (LOtv[Prahas.p.).
     Me,KA)'peMOHTeH pecypc - 1000 q, , 8 ro,1:i;irntt.
     KottcepBaqiu1 .n;o 10.09.2015 r.

     23.01.2015 r.




                                                                              Ghanem 00000241
                                      Ghanem_Sentencing_00000804
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 84 of 174 Page ID #:6225




                                      TECHNICAL CONDITION
                    of helicopter MI – 24D board number 00, factory/serial number 02



                 1. Information about helicopter MI-24D/ factory number:
         Operational since 1982;
         Designated total technical resource 3000 hrs, 36 years
         Total Time Since New (TTSN): 1503 hours, 16 m., 2528 landings.
         Overhaul performed on 07/24/1996 (Military Repair Plant)
         Time Since Overhaul (TSO):
         - 1,000 hrs;
         - Service period between repairs – 7 years
         - Operating time after capital reconditioning – 303 hrs 16 m. and 675 landings
                                 Date of last flight – 03/05/2000
                 1. Information about the engines
                             1.1 TV3-117MT Series 3, factory No. – left
         Date manufactured: 03/25/1989
         Total technical resource: 4,500 hrs
         TTSN: 1,899 hrs 04 m.
         Second overhaul performed in 2012 (LOMPrahas.p.)
         TSO: 1,500 hrs 10 years
         Conservation until 03/22/2015

                              1.2. TV3-117MT factory No. – right
         Date manufactured: 04/13/1988
         Total technical resource: 4,500 hrs
         TTSN: 1,907 hrs 09 m.
         Second overhaul performed in 2012 (LOMPrahas.p.)
         TSO: 1,500 hrs 10 years (until 03/05/2017)
         Conservation until 03/08/2015


         Date manufactured: 08/17/1979
         Total technical resource: 6,000 maintenance, 3,600 take offs, 600 hrs (generator mode)
         TTSN: 2,363 take offs, 4,534 maintenance, 78 hrs 22 m. (in generator mode), 223 hrs 48 m. (total
         time)
         Latest overhaul performed in 2013 (Airport Equipment Plant “Engines VK-MS”)
         TSO: 600 take offs, 1,000 maintenance, 100 hrs (in generator mode), 170 hrs (general
         operation), calendar time of service 6 yeats.
         Conservation until 05/31/2013

                 2. Information about the Main Gearbox (Reducer)
         VR-14 factory No. L7308580
         Date manufactured: 08/17/1987

         Total technical resource: 3,000 hrs



    00084811


                                   Ghanem_Sentencing_00000805
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 85 of 174 Page ID #:6226




                          TTSN: 1,322 hrs 07 m.
                          First overhaul performed in 2012 (LOMPrahas.p.)
                          TSO: 1,000 hrs 8 years
                          Conservation until 09/10/2015

                          01/23/2015




    00084811


                            Ghanem_Sentencing_00000806
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 86 of 174 Page ID #:6227




    00084813                                                Ghanem_00000241


                            Ghanem_Sentencing_00000807
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    00084814                                                Ghanem_00000241


                            Ghanem_Sentencing_00000808
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    00084815                                                Ghanem_00000241


                            Ghanem_Sentencing_00000809
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                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT        708

                                               DATE                                IDEN.

                                               DATE                                EVID.

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                                               AO 386




                            Ghanem_Sentencing_00000810
   Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 90 of 174 Page ID #:6231


   From:                         Rami Ghanem <ramitl1e@gmail.com>
   Sent:                         Sunday, Apri l 5, 2015 12:06 AM
   To:                           Engkhalifa64@yahoo.com: mohamedissa70@yahoo.co.uk
   Cc:                           fakroun <fakrun J ::«)gma1l.com>: Mohd <aldaboubim@gmail.com>
   Su bject:                     second Ml-24
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   Bdaw•11 61 l!LB.NA. {Bn!IJ
   Eeypt Office
   Complex 133, Building 7, Apartment 32
   Al Rehab Ci~, Cairo Egypt
   lternational #: +37282432246
   Telephone# 00201127999552
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe@g_mail.com_or rami@car avaname.com
   US Telephone: 772 675-4363                        Skype Address: carava name

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    not copy or distnbuteth1s mesage o r discl~ ns contents t o 1nyone. My views or opmbn$expr:ned In this meisage are thon of the author and do not 11ec.essarly represent \hose of <.Mt or ol any of R'S asX>tlated compamu. N·)
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                                  Life is short.. So love your life .. Be happy .. And Keep smiling .. and


                                                                                      Before you speak >>Listen
                                                                                       Before you write »Think
                                                                                       Before you spend »Earn
                                                                                      Before you pray »Forgive
                                                                                        Before you hurt »Feel
                                                                                        Before you hate »Love
                                                                                         Before you quit »Try
                                                                                         Before you die »Live

                                                                                                        That's Life ...




00084794.pdf                                                                                                                                                                                             Ghanem 00000241
                                                                                   Ghanem_Sentencing_00000811
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 91 of 174 Page ID #:6232




    00084795                                                Ghanem_00000241


                            Ghanem_Sentencing_00000812
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 92 of 174 Page ID #:6233




    00084796                                                Ghanem_00000241


                            Ghanem_Sentencing_00000813
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 93 of 174 Page ID #:6234




    00084797                                                Ghanem_00000241


                            Ghanem_Sentencing_00000814
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 94 of 174 Page ID #:6235




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT            709

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00000815
   Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 95 of 174 Page ID #:6236


   From:             Tahsin Ammouri <tammouri@hotmail.com>
   Sent:             Sunday, May 10, 2015 1:06 AM
   To:               rami <ramithe@gmail.com>
   Subject:          FW: Ml-24
   Attach:           Ml-24V NO SER.NUM.docx




   Dear Rami
   This is the range of 6 helicopters of mi-24v// it is compatible to mi-35.
   the asking price is 8,500,000 USO
   we need EUC to Belarus, Slovenia & Russia, inspection is permitted after signing the contract


   Regards

   Tahsin Ammouri / President
   Golden Wings Inc.




00081376.pdf                                                                                       Ghanem 00000241
                                             Ghanem_Sentencing_00000816
                                  N2        Description            Description   Part No.   Part No.       Q-ty of                      Since last
                                                                                                         overhauls,      Since New
                                  n ./rr.                                                                                               overhaul
                                                                                                         date of last
                                            M 11:-24 v                                      21.03.1988    21.03.2008        1921           929
                                                          Engine TV3-117V                   15.12.1987    04.09.2002        1678           688
                                                          Engine TV3-117V                   24.02.1987   03.09.2002        1595            630
                                                            APU AI-9B                       16.10.1990   25.06.2004     833/1661/74     632/318/ 28
                                                         Main Gearbox VR-1 4                31.08.1990   30.11.2000        1025            929
                                  NQ        Description            Description   Part No.   Part No.       Q-ty of                      Since last
                                                                                                         overhauls,      Since New
                                  n ./rr.                                                                                               overhaul
                                                                                                         date of last
                             I              M11-24v                                         21.03.1988    31.12.2011        1591           677
                             I                            Engine TV3-1 17V                  11.12.1981    01.07.2004        1905           677
                             I                            Engine TV3-117V                   30.04.1985    01.07.2004        1707           677
                             I                              APU AI-9B                       24.09.1991    18.11.2009    1418/2856/200    105/210/ 2
                                                         Main Gearbox VR-14                 20.12.1989    26.07.2004        1160           303
                             N2             Description            Description   Part No.   Part No.       Q-ty of                      Since last
                                                                                                         overhauls,      Since New
                             n ./rr.                                                                                                    overhaul
                                                                                                         date of last
                             1.              M H-24 v                                       18.11.1985    31.10.2009        2228           382
                                                          Engine TV3-117V                   28.04.1988    15.06.2005         924           381
                                                          Engine TV3-1 17V                  17.06.1985    12.08.2004        1748           447
                                                            APU AI-9B                       29.09.1984    19.12.2004    1726/3226/215   726/364/ 51




Ghanem_Sentencing_00000817
                                                         Main GearboxVR-14                  01.08.1991    31.08.2005        1218           381

                                  N2        Description            Description   Part No.   Part No.       Q-ty of                      Since last
                                                                                                         overhauls,      Since New
                                  n ./rr.                                                                                               overhaul
                                                                                                         date of last
                                             M :a-24v                                       21.11.1985    24.11.2005        2204           965
                                                          Engine TV3-1 17V                  05.11.1988    03.09.2002        1387           393
                                                          Engine TV3-117V                   14.09.1988    03.09.2002        1687           393
                                                            APU AI-9B                       30.03.1985    14.12.2000    1550/3116/168    46/19/2
                                                         Main GearboxVR-14                  18.02.1987    11.12.2000        1226           442
                                                                                                                                                              Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 96 of 174 Page ID #:6237




                                 00081377.pdf                                                                                              Ghanem_ 00000241
                             N2        Description           Description   Part No.   Part No.       Q-ty of                       Since last
                                                                                                   overhauls,      Since New
                             n./i,1.                                                                                               overhaul
                                                                                                   date of last
                                       M 11-24 V                                      30.11.1987    30.11.2007        5037             385
                                                    Engine TV3-117V                   16.05.1985    15.06.2005        1039             137

                                                    Engine TV3-117V                   15.05.1985   29.09.2006         1150              191
                                                      APU   Al-9B                     22.02.1982   13.10.2004     3623/5379/345   2834/ 1354/ 122
                                                   Main Gearbox VR-1 4                30.12.1987   31.08.2005         1051              137

                             N11       Description           Description   Part No.   Part No.       Q-ty of                       Since last
                                                                                                   overhauls,      Since New
                             rr./rr.                                                                                               overhaul
                                                                                                   date of last
                                       M 11-24v                                       30.11.1987    29.11.2007        1247             409
                                                    Engine TV3-1 17V                  30.04.1985    11.07.2005        1212             28
                                                    Engine TV3-1 17V                  26.03.1988    04.12.2004         814             180
                                                      APU AI-9B                       28.04.1980                  2973/6025/228   2476/1202/104
                                                   Main Gearbox VR-14                 26.02.1982    12.04.2000        1706             409




Ghanem_Sentencing_00000818
                                                                                                                                                         Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 97 of 174 Page ID #:6238




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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 98 of 174 Page ID #:6239




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                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT        710

                                               DATE                                IDEN.

                                               DATE                                EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00000819
   Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 99 of 174 Page ID #:6240


   From:                          Rami Ghanem <ramithe@gmail.com>
   Sent:                          Monday, May 11, 20 15 6 :25 A}.,[
   To:                            Jean-BernardLasnaud <j bl777@gmai I.com>
   Subject:                       RE: Follow up and Mi 24




   Dear Jean,

   Thank you for your e-ma il, I am sorry I could not understand your data sheet
   very well , it's not in English , can we maybe speak on Skype (caravaname)
   to discuss the Mi24 because we are looking for 2 helicopters ready to go for
   operation with full arms.

   If you have then please send me the full technical offer and prices for the
   complete helicopter with the fully armed and photos if available.

   Thanking you in advance.

   Best Regards


   Ind t!1MllleM

   61l&WIIJJ ~e .J!IBIIA                                            /t,!J'J!I/
   Egypt Office
   COmple>< 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   lternational #: +37282432246
   Telephone# 00201127999552
   Jordan Office

   Tel : 962 6 5685624
   Fax: 962 6 5685625
   ramithe@gmail.com .. or rainittv.caravaname.com
   US Telephone: 772 675-4363                          Skype Address: SJ!.!'.~.Y.;m.~.I!~~

    The information contained in th s m!ssage is for the inteided addressee only and may contain confidential and/or prl\ileged rnformation.11 you are not the Intended acdres.see. this: messate w II self destruct so
    notify the sender; do not copy or distribute this mess,ee or dselose its co1terts to anvone. Any views or opinions cxpresse.1 In this message are those d the author and do not nece;.sarly repreient tho;.e of CtJE or
    of eny of It, auocleted compenlts. No tellance mey be placed on this me.»ect w~hout wrltte:r conf,,rraoon from an autho·~e:d tep,e:,.cnudve, of the company.




                          Life is short .. So love your life .. Be happy .. And Keep smiling.. and


                                                                               Before you speak »listen



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    Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 100 of 174 Page ID
                                      #:6241

                                                 Before you write »Think
                                                 Before you spend »Earn
                                                Before you pray »Forgive
                                                  Before you hurt >>Feel
                                                  Before you hate »Love
                                                   Before you quit >>Try
                                                   Before you die » Live

                                                      That's Life ...



From: Jean-Bernardlasnaud [mailto:jbl777@gmail.com]
Sent: Saturday, May 9, 2015 5:04 PM
To: 'Rami Ghanem'
Subject: Follow up and Mi 24

Subject: RE: Follow up and Mi 24

Subject unsold

Ml-1-24,ll,. 5 units. flyable. with resource.

$3.SM per unit.

See attached doc

Rgds


The Hon. Jean-Bernard Lasnaud

General Equipment Co.
Fax:+33821463077
Email:ibl @qeneralequipment.info

Chat & Phone PC to PC free:
Skype: jb-lasnaud
MSN: jblexp@hotmail_.com
Gm ail: ibl777@gmail.com
BBM: 7AA1AFF7

Visit our website: w_ww..g_enerale.@lP.m.griJ..infQ




From: Rami Ghanem [mailto:.ramithe@gmail.com]
Sent: Saturday, May 09, 2015 1:33 PM
To: jbl~neraleg!!iQment.info




                                                                             Ghanem 00000241
                                                Ghanem_Sentencing_00000821
      Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 101 of 174 Page ID
                                        #:6242

Subject: Follow up and Mi 24

Dear Mr. Lasnaud ,

It was very good talking to you and hoping to establish a new business with your
company, for now I am looking for 2 Mi 24 helicopters, please quote me your best offer
for the one ready for delivery, also I want to see if you can work with us we are doing
business in Egypt, Libya, Saudi Arabia, Iraq and some other African countries, we are
also looking for An-26 qty 2 aircrafts, we are looking for ammunitions too, please let me
know if you are able to work with us on such a business.

Hoping to hear from you soon.

Best regards




Bll€ew•/I ~" ~ - /tin}
Complex 133, Building 7, Apartment 32
Al Rehab City, Cairo Egypt
Telephone# 00201127999552
lternational #: +37282432246
Jordan Office
Tel: 962 6 5685624
Fax: 962 6 5685625
rami~ail.com_or ram~                                  aravaname.com
us Telephone: 772 675-4363                         Skype Address: caravaname
 The l.nformatlon contained .-i th s message i1 for the lnteided addressee only and may contai n c:onffdenti.al and/orprli.tlegtd Information. II you art nol the Intended ac:dre~see. this mtS$afe w II self destruct so
 notify the sender; do not copy or distribute this mes.s!tge or d.sclose its co,terts to anvone. Any views or opi nions expressed in this message are those d the author and do not nece>sar Iv reprerent tho~ of Cfl/E or
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                       Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                             Before you speak »Listen
                                                                             Before you write >>Th ink
                                                                             Before you spend »Earn
                                                                            Before you pray »Forgive
                                                                             Before you hurt »Feel
                                                                                Before you hate >>Love
                                                                                 Before you quit »Try
                                                                                 Before you die »Live

                                                                                              That's Life ...




                                                                                                                                                                                          Ghanem 00000241
                                                                            Ghanem_Sentencing_00000822
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 102 of 174 Page ID
                                  #:6243




                                            CASE NO.     CR 15-0704 (A)-SJO

                                                     UNITED STATES OF AMERICA
                                              VS.       GHANEM

                                            PLAINTIFF=S EXHIBIT            711

                                            DATE                                 IDEN.

                                            DATE                                 EVID.

                                            BY
                                                            DEPUTY CLERK
                                            AO 386




                         Ghanem_Sentencing_00000823
                   Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 103 of 174 Page ID
 From:                 Rami Ghanem <ramithe@gmail.com> #:6244
 Sent:                        Wednesday, May 13, 2015 8:54 AM
 To:                          Engkhalifa64@yahoo.com
 Subject:                     two Mi 24
 Attach:                      image (1).jpg; image (2).jpg; image (3).jpg; image.jpg; Ñ Ñ Ñ Ñ.doc
                                                                                              ÑÑÑ




                                                                                                                                                                                                  ‫نيترئاط ضرع‬

                                                                                                                                                                                                                               Mi 24

       ‫ لالخ ليصوتلاو لمعلل نيزهاج طقف )غبص ( ناهد لا جاتحت تارئاطلا‬4 ‫عيباسا‬
                                             ‫غلبملا عفدو دقعلا عيقوت خيرات نم‬

                                                                                                                                                                         ‫هتارصم ىلا لصاو نمثلا‬
                                                                                                                                                                          ‫هرئاط لكل‬$ 7,850,000

                                                                                                                                                                                     ‫هحلسالا هفاكب هزهجم‬

 Rami Ghanem

 Gateway to MENA. (GTM)
Egypt Office
 Complex 133, Building 7, Apartment 32
 Al Rehab City, Cairo Egypt
 Iternational #: +37282432246
 Telephone# 00201127999552
 Jordan Office

 Tel: 962 6 5685624
Fax: 962 6 5685625
ramithe@gmail.com or rami@caravaname.com
US Telephone: 772 675-4363                         Skype Address: caravaname

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                                 Life is short.. So love your life.. Be happy.. And Keep smiling.. and

                                                                                      ‎Before you speak »Listen
                                                                                       Before you write »Think
                                                                                       Before you spend »Earn
                                                                                     Before you pray »Forgive
                                                                                      Ghanem_Sentencing_00000824
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 104 of 174 Page ID
                                  #:6245
                          Before you hurt »Feel
                          Before you hate »Love
                           Before you quit »Try
                           Before you die »Live
                               That's Life...




                         Ghanem_Sentencing_00000825
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 105 of 174 Page ID
                                  #:6246




 00080995                                                Ghanem_00000241


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Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 106 of 174 Page ID
                                  #:6247




 00080996                                                Ghanem_00000241


                         Ghanem_Sentencing_00000827
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 107 of 174 Page ID
                                  #:6248




 00080997                                                Ghanem_00000241


                         Ghanem_Sentencing_00000828
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 108 of 174 Page ID
                                  #:6249




 00080998                                                Ghanem_00000241


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 Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 109 of 174 Page ID
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ɦɟɠɪɟɦɨɧɬɧɵɣ                                   ɥɟɬ                 ɥɟɬ
Ⱦɜɢɝɚɬɟɥɶɥɟɜɵɣ                              Ɍȼ-ȼ               Ɍȼ-ȼ
Ɂɚɜɧɨɦɟɪ                                7087854503523         7087851603025
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                            28.12.85 ɝ            21.01.86 ɝ
Ⱦɚɬɚɧɚɱɚɥɚɷɤɫɩɥɭɚɬɚɰɢɢ                     ɝ            ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                              ɱ ɦɢɧ           ɱ ɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ                                   ɱ                 ɱ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                           ɱ ɦɢɧ          ɱ ɦɢɧ
ɉɄɊ                                               -                       -
Ⱦɜɢɝɚɬɟɥɶɩɪɚɜɵɣ                    Ɍȼ-ȼ (ɛɟɡɮɨɪɦɭɥɹɪɚ)        Ɍȼ-ȼ
Ɂɚɜɧɨɦɟɪ                                7087854503514         7087854503304
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                     28.12ɝ ɨɪɢɟɧɬɢɪ         28.11.85 ɝ
Ⱦɚɬɚɧɚɱɚɥɚɷɤɫɩɥɭɚɬɚɰɢɢ                     24.04.86 ɝ            ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                              ɱ ɦɢɧ           ɱ ɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ                                   ɱ                 ɱ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                           ɱ ɦɢɧ          ɱ ɦɢɧ
ɉɄɊ                                               -                       -
ȽɥɚɜɧɵɣɪɟɞɭɤɬɨɪȼɊ-24                         ȼɊ-24                  ȼɊ-24
Ɂɚɜɧɨɦɟɪ                                   Ʌ102121              Ʌ3160
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                            24.02.86 ɝ            ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                              ɱ ɦɢɧ           ɱ ɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ                                   ɱ                 ɱ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                           ɱ ɦɢɧ          ɱ ɦɢɧ
ɉɄɊ                                               -                       -
ȼɋɍ                                           Ⱥɂ-ȼ                  Ⱥɂ-ȼ
Ɂɚɜɧɨɦɟɪ                                2250921600017         2250921500502
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                            20.01.86 ɝ            10.03.86 ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ ɩɨɥɧɚɹ                       ɱ ɦɢɧ            ɱ 56 ɦɢɧ
ɇɚɪɚɛɨɬɤɚɋɇɗɜɝɟɧɟɪɚɬɨɪɧɨɦɪɟɠɢɦɟ         ɱɦɢɧ            ɱɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫɜɝɟɧɟɪɚɬɨɧɨɦɪɟɠɢɦɟ               ɱ                  ɱ
ɑɢɫɥɨɡɚɩɭɫɤɨɜɋɇɗ                         ɡɚɩɭɫɤɨɜ           ɡɚɩɭɫɤɨɜ
Ɉɛɳɢɣɪɟɫɭɪɫɧɚɱɢɫɥɨɡɚɩɭɫɤɨɜ            ɡɚɩɭɫɤɨɜ          ɡɚɩɭɫɤɨɜ
ɑɢɫɥɨɨɬɛɨɪɨɜɋɇɗ                          ɨɬɛɨɪɨɜ             62ɨɬɛɨɪ
Ɉɛɳɢɣɪɟɫɭɪɫɧɚɱɢɫɥɨɨɬɛɨɪɨɜ             ɡɚɩɭɫɤɨɜ          ɡɚɩɭɫɤɨɜ
ɉɄɊ                                               -                       -
     00080999                                               Ghanem_00000241


                           Ghanem_Sentencing_00000830
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                                   #:6251

ȼɬɭɥɤɚɇȼ                                   24-1930-00               24-1930-00
Ɂɚɜɧɨɦɟɪ                                 92024454346              92024161854
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                           ɝ              ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                              ɱɦɢɧ             ɱɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ                              ɱɦɢɧ            ɱɦɢɧ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                           ɱɦɢɧ            ɱɦɢɧ
ɉɄɊ                                               -                       -
Ⱥɜɬɨɦɚɬɩɟɪɟɤɨɫɚ                            24-1940-00               24-1940-00
Ɂɚɜɧɨɦɟɪ                                  ǳ               Ʌ
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                           ɝ              ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                              ɱɦɢɧ             ɱɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ                              ɱɦɢɧ            175ɱɦɢɧ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                           ɱɦɢɧ            ɱɦɢɧ
ɉɄɊ                                               -                       -
Ɋɭɥɟɜɨɣɜɢɧɬ                           246-3904-00 ɫɟɪ       246-3904-00 ɫɟɪ
Ɂɚɜɧɨɦɟɪ                                   8010159                Ɇɏ-5010361
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                           ɝ              ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                               ɧɟɬɞɜɧɧɵɯ              ɱɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ                              ɱɦɢɧ            ɱɦɢɧ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                             ɧɟɬɞɜɧɧɵɯ             ɱɦɢɧ
ɉɄɊ                                         ɧɟɬɞɜɧɧɵɯ                    -
ɉɪɨɦɟɠɭɬɨɱɧɵɣɪɟɞɭɤɬɨɪ              Ⱥ-1515-00 ɧɟɬɩɚɫɩɨɪɬɚ         246-1515-00
Ɂɚɜɧɨɦɟɪ                                  Ʌ                Ʌ
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                       ɝ ɨɪɢɟɧɬɢɪ           ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                              ɱɦɢɧ             ɱ ɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ                              ɱɦɢɧ            ɱɦɢɧ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                           ɱɦɢɧ            ɱɦɢɧ
ɉɄɊ                                               -                       -
ɏɜɨɫɬɨɜɨɣɪɟɞɭɤɬɨɪ                         246-1517-00              246-1517-00
Ɂɚɜɧɨɦɟɪ                                  Ʌ                Ʌ
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                           ɝ              ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                              ɱɦɢɧ             ɱɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ                              ɱɦɢɧ            ɱɦɢɧ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                           ɱɦɢɧ            ɱɦɢɧ
ɉɄɊ                                               -                       -
Ʉɨɪɨɛɤɚɩɪɢɜɨɞɨɜ                            24-1512-00               24-1512-00
Ɂɚɜɧɨɦɟɪ                                  Ʌ                Ʌ
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                           ɝ              ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                              ɱɦɢɧ             191 ɱɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ                              ɱɦɢɧ            ɱɦɢɧ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                           ɱɦɢɧ            ɱɦɢɧ
ɉɄɊ                                               -                       -
ɏɜɨɫɬɨɜɨɣɜɚɥ                               24-1526-00               24-1526-00
Ɂɚɜɧɨɦɟɪ                                  ǳ               Ʌ
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                           ɝ              ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                              ɱɦɢɧ             ɱɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ                              ɱɦɢɧ            ɱɦɢɧ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                           ɱɦɢɧ            ɱɦɢɧ
ɉɄɊ                                               -                       -
Ʉɚɪɞɚɧɧɵɣɜɚɥ                               Ⱥ-6314-00               Ⱥ-6314-00
     00080999                                                 Ghanem_00000241


                          Ghanem_Sentencing_00000831
 Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 111 of 174 Page ID
                                   #:6252

Ɂɚɜɧɨɦɟɪ                                    ɪ                510734ɪ
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                            ɝ            ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                               ɱɦɢɧ           ɱɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ                               ɱɦɢɧ          ɱɦɢɧ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                            ɱɦɢɧ          ɱɦɢɧ
ɉɄɊ                                               -                      -
ȼɟɧɬɢɥɹɬɨɪɨɯɥɚɠɞɟɧɢɹ                        Ⱥ-6311-00             Ⱥ-6311-00
Ɂɚɜɧɨɦɟɪ                                  Ɉȼ            Ɉȼ
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                            ɝ            ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                               ɱɦɢɧ           ɱɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ ɢɫɪɨɤɫɥɭɠɛɵ                 ɱ / ɥɟɬ        ɱ / ɥɟɬ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                            ɱɦɢɧ          ɱɦɢɧ
ɉɄɊ                                               -                      -
Ʉɨɦɛɢɧɢɪɨɜɚɧɧɵɣɚɝɪɟɝɚɬɭɩɪɚɜɥɟɧɢɹ           ɄȺɍ-115                ɄȺɍ-115
Ɂɚɜɧɨɦɟɪ                                 821036340059           821036340092
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                            ɝ            ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                               ɱɦɢɧ           ɱɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ ɢɫɪɨɤɫɥɭɠɛɵ                 ɱ/ ɥɟɬ        ɱ/ ɥɟɬ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                             ɦɢɧ           ɱɦɢɧ
ɉɄɊ                                               -                      -
Ʉɨɦɛɢɧɢɪɨɜɚɧɧɵɣɚɝɪɟɝɚɬɭɩɪɚɜɥɟɧɢɹ           ɄȺɍ-115                ɄȺɍ-115
Ɂɚɜɧɨɦɟɪ                                 821036340103           
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                            30.03ɝ            29.03ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                               ɱɦɢɧ           ɱɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ ɢɫɪɨɤɫɥɭɠɛɵ                 ɱ/ ɥɟɬ        ɱ/ ɥɟɬ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                             ɦɢɧ           ɱɦɢɧ
ɉɄɊ                                               -                      -
Ʉɨɦɛɢɧɢɪɨɜɚɧɧɵɣɚɝɪɟɝɚɬɭɩɪɚɜɥɟɧɢɹ           ɄȺɍ-115                ɄȺɍ-115
Ɂɚɜɧɨɦɟɪ                                 821036340030           821036340025
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                            ɝ            ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                               ɱɦɢɧ           ɱɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ ɢɫɪɨɤɫɥɭɠɛɵ                 ɱ/ ɥɟɬ        ɱ/ ɥɟɬ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                             ɦɢɧ           ɱɦɢɧ
ɉɄɊ                                               -                      -
Ʉɨɦɛɢɧɢɪɨɜɚɧɧɵɣɚɝɪɟɝɚɬɭɩɪɚɜɥɟɧɢɹ           ɄȺɍ-115                ɄȺɍ-115
Ɂɚɜɧɨɦɟɪ                                 821036340097           821036340089
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                            ɝ            ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                               ɱɦɢɧ           ɱɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ                               ɱ/ ɥɟɬ        ɱ/ ɥɟɬ
Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                             ɦɢɧ           ɱɦɢɧ
ɉɄɊ                                               -                      -
Ʌɨɩɚɫɬɢɧɟɫɭɳɟɝɨɜɢɧɬɚ                       24-2700-00             24-2700-00
                                           ȼ           ȼ
                                           ȼ           ȼ
Ɂɚɜɧɨɦɟɪ                                 ȼ           ȼ
                                           ȼ           ȼ
                                           ȼ           ȼ
Ⱦɚɬɚɢɡɝɨɬɨɜɥɟɧɢɹ                            ɝ            ɝ
ɇɚɪɚɛɨɬɤɚɋɇɗ                               ɱɦɢɧ           ɱɦɢɧ
Ɉɛɳɢɣɪɟɫɭɪɫ                               ɱ / 1ɥɟɬ        ɱ / 1ɥɟɬ
   00080999                                                  Ghanem_00000241


                           Ghanem_Sentencing_00000832
 Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 112 of 174 Page ID
                                   #:6253




Ɉɫɬɚɬɨɤɪɟɫɭɪɫɚ                           ɱɦɢɧ          ɱɦɢɧ
ɉɄɊ                                             -                     -




   00080999                                               Ghanem_00000241


                          Ghanem_Sentencing_00000833
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 113 of 174 Page ID
                                  #:6254




                                            CASE NO.     CR 15-0704 (A)-SJO

                                                     UNITED STATES OF AMERICA
                                              VS.       GHANEM

                                            PLAINTIFF=S EXHIBIT       712

                                            DATE                                IDEN.

                                            DATE                                EVID.

                                            BY
                                                            DEPUTY CLERK
                                            AO 386




                         Ghanem_Sentencing_00000834
             Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 114 of 174 Page ID
                                               #:6255




 From:             Rami Ghanem <ramithe@gmail.com>
 Sent:             Thursday, May 14, 2015 6:41 AM
 To:               KKG <targama@onet.pl>
 Subject:          RE: stock info



 Karina, please see below my comments


 From: KKG [mailto:targama@onet.pl]
Sent: Monday, May 11, 2015 10:08 PM
To: ramithe@gmail.com
Subject: stock info

 Dear Rami,

 Please find below the goods from the stock available. Once there is serious interest official offer will be presented.


    tanks T-72M1 – 22szt. after main overhaul. Prices indication and I will offer it to my customers

     Mi-24W helicopters – 4 units. very good technical condition are they ready for delivery? What is the configuration on each
        Helicopter , what arms dose it carry, how long is the delivery time? Can you send me photo and technical specifications?

    engines to Mi 17 and 24 – 5 pcs prices please and are ready for use ( completely overhauled)




    best regards

    karina




              00080354                                                                          Ghanem-00072443


                                               Ghanem_Sentencing_00000835
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 115 of 174 Page ID
                                  #:6256




                                            CASE NO.     CR 15-0704 (A)-SJO

                                                     UNITED STATES OF AMERICA
                                              VS.       GHANEM

                                            PLAINTIFF=S EXHIBIT            713

                                            DATE                                 IDEN.

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      Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 116 of 174 Page ID
                                        #:6257

   From:       Rami Ghanem <ramithe@gmail.com>
   Sent:       Sunday, December 28, 2014 1:23 PM
   To:         Mohd <aldaboubim@gmail.com>
   Subject:    1'1.iG 29
   Attach:     MiG 29 data.pdf; MiG Photo.pdf




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                                                                                           Ha3Ha4eHHblii                                                                Me}l(peMOHTHblii
                                              N!!        nnaHep              ,D,a1a           pecypc        Hapa6oTKa         Kon-Bo        Ko11-eo        ,D,a1a           pecypc            HaneT         Kon-Bo     ,D,aTa
                                              n/n    MOAMc1>1-1Kal,\l-1fl   H3f0T0B    /leT    Hapa6oTKa       CH3            nocaAOK   peMOHTOB      KpaiiHero     neT      Hapa6orna            nnP   nocaAOK      KpaiiHero    npHMe4a
                                                                             /leHHfl           K0/1-80                         CH3                        peMOHTa            K0/1-80                         nnP      Bbl/le Ta     Hl-1e
                                                                                               nocaAoK,                                                                      nocaAOK
                                                                                               3anyCKOB
                                              1.    9.13                    31.10.88   20      2500 4aC.    268.06        465           -             -             9        800 4ac.         -         .            04.02.98
                                                    2960721939                                              43C.




                                              2.    1-blM ABHraTeJlb        12.08.88   -       800 Yac.     304.34 Yac/   -             -             -             8        400<~ac./        -         -            26.11.02
                                                    Tl-m 88n.2C cep.2                                       707 3anyc.                                                       1200 3an.                               3anycK
                                                    870883872047




                                              3.    2-oii AB1-1rare11b      22.11.88   -       800 4ac.     272.42 4ac/   .             -             -             8        5004ac./         .         .            26.11.02
                                                    T11n 88n.2C cep.2                                       613 3an.                                                         1500 3an.                               3anycK
                                                                                                                                                                                                                                                                              #:6258




                                                    870884872070



                                              4.    Tim KCA-3               01.09.88   14      1000 4ac./   303.50 Yac/   -             -             -             7        500 Yac./        .         .            26.11.02
                                                    4200625808190                              3760 3an.    787 3an.                                                         1880 3an.                               3anycK




Ghanem_Sentencing_00000838
                                              5.    T1-1n rTA3117           16.08.88   14      3500 3an.    1343 3an.     .             -             .             7        /J,o 1-ro peM.   .         -            26.11.02
                                                    4203253808407                                                                                                            2910 3an.                               3anycK
                                                                                                                                                                             Me>t<peM.
                                                                                                                                                                             590 3an.
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                                                                                           Ha3Ha4eHHblii                                                               Me}l(peMOHTHblii
                                              N!!          nnaHep            ,D,a1a           pecypc       Hapa6oTKa          Kon-Bo        Ko11-eo       ,D,a1a           pecypc            HaneT         Kon-Bo     ,D,aTa
                                              n/n    MOAMc1>1-1Kal,\l-1fl   H3f0T0B    /leT    Hapa6oTKa      CH3             nocaAOK   peMOHTOB      KpaiiHero    neT      Hapa6orna         nnP      nocaAOK      KpaiiHero    npHMe4a
                                                                             /leHHfl           K0/1-80                          CH3                   peMOHTa               K0/1-80                         nnP      Bbl/le Ta     Hl-1e
                                                                                               nocaAoK,                                                                     nocaAOK
                                                                                               3anyCKOB
                                              1.    9.13                    31.10.88   20      2500 YaC.   326.26 Yac.    603           -             -            9        800              -         .            21.01.98
                                                    2960721937




                                              2.    1-blM ABHraTeJlb        02.07.87   -       600 Yac.    321.44 4ac/    -             1             13.09.91     6        300<~ac./        24.39     .            24.10.02
                                                    Tl-m 88n.2C cep.2                                      817 3anyc.                                                       900 3an.         'lac. /                3anycK
                                                    870882761140                                                                                                                             943an




                                              3.    2-oii AB1-1rare11b      05.85      -       -           266.21Yac.     .             1             21.06.91     -        -                25.30     .            24.10.02     .D.v6mtKaT
                                                    T11n 88n.2C cep.2                                                                                                                        4ac./                  3anycK       <j)opMy/lR
                                                                                                                                                                                                                                                                                #:6259




                                                    870882561056                                                                                                                             92 3an                              pa



                                              4.    Tim KCA-3               02.09.87   -       700 4ac./   342 .44 Yac/   .             -             -            6        /J,o 1-ro peM    .         .            24.10.02
                                                    4200625708908                              2632 3an.   11503an.                                                         500 Yac./                               3anycK




Ghanem_Sentencing_00000839
                                                                                                                                                                            1880 3an.
                                                                                                                                                                            M empeM.
                                                                                                                                                                            200 yac.

                                              5.    T1-1n rTA3117           27.08.87   14      3500 3an.   1519 3an.      .             -             .            7        /J,o 1-ro peM.   .         -            24.10.02
                                                    4203253708419                                                                                                           2910 3an.                               3anycK
                                                                                                                                                                            MempeM.
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                                              N!!        nnaHep              ,D,a1a           pecypc        Hapa6oTKa         Kon-Bo        Ko11-eo       ,D,a1a           pecypc             HaneT         Kon-Bo     ,D,aTa
                                              n/n    MOAMc1>1-1Kal,\l-1fl   H3f0T0B    /leT    Hapa6oTKa       CH3            nocaAOK   peMOHTOB      KpaiiHero    neT      Hapa6orna          nnP      nocaAOK      KpaiiHero    npHMe4a
                                                                             /leHHfl           K0/1-80                          CH3                   peMOHTa               K0/1-80                          nnP      Bbl/le Ta     Hl-1e
                                                                                               nocaAoK,                                                                     nocaAOK
                                                                                               3anyCKOB
                                              1.    9.13                    31.10.88   20      2500 YaC.    288.30 Yac.   533           -             -            9        800               -         .            21.01.98
                                                    2960721514




                                              2.    1-blM ABHraTeJlb        30.09.87   -       1000 Yac.    281.29 4ac/   -             1             31.03.91     6        /J,o 1-ro peM     26.25     .            19.11.02
                                                    Tl-m 88n.2C cep.2                                                                                                       4004ac./          'lac. /                3anycK
                                                    870883772269                                                                                                            1200 3an.
                                                                                                                                                                            Me>i<peM.
                                                                                                                                                                            350 Yac./
                                                                                                                                                                            10503an.
                                              3.    2-oii AB1-1rare11b      29.05.87   -       600 4ac.     326.354ac/    .             2             10.09.91     -        300 yac./         26.35     .            19.11.02
                                                    T11n 88n.2C cep.1                                       7503a n.                                                        900 3an.          4ac./                  3anycK
                                                                                                                                                                                                                                                                          #:6260




                                                    870882761062                                                                                                                              114
                                                                                                                                                                                              3an.

                                              4.    T11n KCA-3              01.08.88   14      1000 4ac./   315.44 Yac/   -             -             -            7        /J,o 1-ro peM     -         -            19.11.02
                                                    4 200625807171                             3760 3an.    829 3an.                                                        SOO '-lac./                              3anycK




Ghanem_Sentencing_00000840
                                                                                                                                                                            18803an.
                                                                                                                                                                            Me>i<peM.
                                                                                                                                                                            500 43C.

                                              5.    T11n rTA311 7           25.07.88   14      3500 3an.    1418 3an.     -             -             -            7        /J,o 1- ro peM.   -         -            19.11.02
                                                    4203253807352                                                                                                           2910 3an.                                3anycK
                                                                                                                                                                            M e>t<peM.
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                                              N!!          nnaHep            ,D,a1a           pecypc         Hapa6oTKa           Kon-Bo        Ko11-eo        ,D,a1a           pecypc            HaneT         Kon-Bo     ,D,aTa
                                              n/n    MOAMc1>1-1Kal,\l-1fl   H3f0T0B    /leT    Hapa6oTKa         CH3             nocaAOK   peMOHTOB      KpaiiHero     neT      Hapa6orna            nnP   nocaAOK      KpaiiHero    npHMe4a
                                                                             /leHHfl           K0/1-80                            CH3                        peMOHTa            K0/1-80                         nnP      Bbl/le Ta     Hl-1e
                                                                                               nocaAoK,                                                                         nocaAOK
                                                                                               3anyCKOB
                                              1.    9.13                    31.10.88   20      2500 YaC.     333.06 Yac.     605           -             -             9        800              -         .            14.01.98
                                                    2960721938




                                              2.    1-blM ABHraTeJlb        30.12.88   8       800 Yac.      280.54 4ac/     -             -             -             8        /J,o 1-ro peM    -         -            27.11.02
                                                    nm 88n.2C cep.2                                          635 3anyc.                                                         5004ac./                                3anycK
                                                    8708834872242                                                                                                               1500 3an.
                                                                                                                                                                                Me>i<peM.
                                                                                                                                                                                500 Yac./
                                                                                                                                                                                15003an.
                                              3.    2-oii AB1-1rare11b      16.02.89   8       800 4ac.      171.244ac/      .             1             23.02.90      -        ,ll,o 1-ro peM   142.32    .            27.11.02
                                                    T11n 88n.2C cep.1                                        4393a n.                                                           5004ac./         43C.                   3anycK
                                                                                                                                                                                                                                                                                 #:6261




                                                    870881972065                                                                                                                1500 3an.
                                                                                                                                                                                Me>i<peM.
                                                                                                                                                                                500 Yac./
                                                                                                                                                                                1500 3an ..
                                              4.    T11n KCA-3              30.11.87   12      700 o-iac./   364.25 o-iac/   .             -             -             6        /J,o 1-ro peM    .         .            27.11.02




Ghanem_Sentencing_00000841
                                                    4200625711981                              2632 3an.     1098 3an.                                                          500 Yac./                               3anycK
                                                                                                                                                                                1880 3an .
                                                                                                                                                                                Me>+<peM.
                                                                                                                                                                                200 4ac.

                                              5.    nm rTA3117              02.09.85   -       3200 3an.     1496 3an.       -             -             -             7        /J,o 1-ro peM.   .         .            27.11.02
                                                    4203253508230                                                                                                               16003an.                                3anycK
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                                              N!!          nnaHep            ,D,a1a           pecypc        Hapa6oTKa         Kon-Bo        Ko11-eo        ,D,a1a           pecypc            HaneT         Kon-Bo     ,D,aTa
                                              n/n    MOAMc1>1-1Kal,\l-1fl   H3f0T0B    /leT    Hapa6oTKa       CH3            nocaAOK   peMOHTOB      KpaiiHero     neT      Hapa6orna            nnP   nocaAOK      KpaiiHero    npHMe4a
                                                                             /leHHfl           K0/1-80                         CH3                        peMOHTa            K0/1-80                         nnP      Bbl/le Ta     Hl-1e
                                                                                               nocaAoK,                                                                      nocaAOK
                                                                                               3anyCKOB
                                              1.    9.13                    31.10.88   20      2500 YaC.    385.00 Yac.   594           -             -             9        800              -         .            02.02.98
                                                    2960721943




                                              2.    1-blM ABHraTeJlb        29.09.84   -       -            407.00 4ac/   -             2             11.06.91      6        /J,o 1-ro peM    38.00     .            05.11.02
                                                    Tl-m 88n.2C cep.2                                       903 3an.                                                         125'-tac./       'lac. /                3anycK
                                                    870883461109                                                                                                             375 3an.         131
                                                                                                                                                                                              3an.



                                              3.    2-oii AB1-1rare11b      28.12.84   -       -            242 4ac/      .             2             22.02.91      6        ,ll,o 1-ro peM   12.00     .            05.11.02
                                                    T11n 88n.2C cep.1                                       6943a n.                                                         lOOYac./         4ac./                  3anycK
                                                                                                                                                                                                                                                                              #:6262




                                                    8708844 61136                                                                                                            300 3an.         64
                                                                                                                                                                                              3an.


                                              4.    T11n KCA-3              14.05.86   -       1000 Yac./   331 Yac/      -             -             -             6        Me>1<peM.        -         -            05.11.02
                                                    4 200625604566                             4160 3an.    1136 3an.                                                        SOO 'tac.                               3anycK




Ghanem_Sentencing_00000842
                                              5.    T11n rTA311 7           21.04.86   -       100 Yac./    1679 3an.     -             -             -             7        Me>1<peM.        -         -            05.11.02
                                                    4203252604120                              3500 3an.                                                                     50Yac./                                 3anycK
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                                              N!!        nnaHep              ,D,a1a           pecypc          Hapa6oTKa            Kon-Bo        Ko11-eo        ,D,a1a           pecypc         HaneT         Kon-Bo     ,D,aTa
                                              n/n    MOAMc1>1-1Kal,\l-1fl   H3f0T0B    /leT    Hapa6oTKa          CH3              nocaAOK   peMOHTOB      KpaiiHero     neT      Hapa6orna         nnP   nocaAOK      KpaiiHero    npHMe4a
                                                                             /leHHfl           K0/1-80                              CH3                        peMOHTa            K0/1-80                      nnP      Bbl/le Ta     Hl-1e
                                                                                               nocaAoK,                                                                           nocaAOK
                                                                                               3anyCKOB
                                              1.    9.13                    31.10.88   20      2500 YaC.      372.35 Yac.      696           -             -             9        800           -         .            14.01.98
                                                    2960721933




                                              2.    1-blM ABHraTeJlb        12.01.88   -       600 Yac.       431.46 4ac/      -             1             05.06.91      8        Me>t<peM.     79.16     .            14.11.02
                                                    Tl-m 88n.2C cep.2                                         894 3anyc.                                                          350 '-lac./   'lac./                 3anycK
                                                    870884772302                                                                                                                  1050 3an.     231
                                                                                                                                                                                                3an.



                                              3.    2-oii AB1-1rare11b      29.08.85   -       400 4ac.       358.41Yac/       .             3             30.05.91      -        Me>t<peM.     38.41     .            14.11.02
                                                    T11n 88n.2C cep.1                                         4063a n.                                                            200 '-lac./   4ac./                  3anycK
                                                                                                                                                                                                                                                                                #:6263




                                                    8708835561051                                                                                                                 600 3an..     99
                                                                                                                                                                                                3an.


                                              4.    T11n KCA-3              19.08.88   14      1000 '-lac./   413.19 1.1 ac/   -             -             -             7        Me>t<peM.     -         -            14.11.02
                                                    4 200625807187                                            1054 3an.                                                           SOO '-lac.                           3anycK




Ghanem_Sentencing_00000843
                                              5.    T11n rTA311 7           31.07.88   14      3500 3an.      1792 3an.        -             -             -             7        Me>t<peM.     -         -            14.11.02
                                                    4203253807385                                                                                                                 590 3an.                             3anycK


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                                                                                                             TECHNICAL CERTIFICATE
                                                                                                     AIRCRAFT MuT-29 (Type 9.13) from Septemllel' 2009



                                              1. Iofol'mation about the aircraft:
                                                   l     Tv oe of aircraft                                                                                        Mef-29
                                                   2     Factoiy No                                                                                               2%0721514
                                                   3     Registrati on No                                                                                         07
                                                   4     Date of manufacture                                                                                      31.10.1988
                                                   5     Technical resource (hours/years)                                                                         2500 hours
                                                   6     Total Time Since New                                                                                     288-30
                                                   7     Undern.one no OYerhaul                                                                                   -
                                                   9     Last technical service (24+2 /. 1 months)                                                                Decembe1· 2007



                                              2. lnf1           b     h,           APU and th,       b
                                                                                                                                                                                                                            #:6264




                                                    1     Type of engine                                                   RD-33 2S series 1         GTDE - 117            KSA -3
                                                    2     Factory No                                                       1. 870883772269           4203253807354        4200625807171
                                                                                                                           2. 870882761092
                                                    3     Total Time Since New                                             1. 281-29                 1424 startings       315-44
                                                                                                                           2. 326-35                 1190 consecutive     829 startings




Ghanem_Sentencing_00000844
                                                                                                                                                     startings of the
                                                                                                                                                     cn2inc
                                                    4     Total T ime from the last overhaul                               1. 26-25                  -                    -
                                                                                                                           2. 26-35




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                                                                                                         TECHNICAL CERTIFICATE
                                                                                                 AIRCRAFT MeT-29 (Type 9.13) from September 2009



                                              1. Information about the aircraft:
                                                   l   Tyoe of aircraft                                                                                    MiG-29
                                                   2   Factory No                                                                                          2960721938
                                                   3   Registration No                                                                                     44
                                                   4   Date of manufacture                                                                                 31.10.1988
                                                   5   T eclmical resource (hotn-s)                                                                        2500 hom·s
                                                   6   T otal Time Since New                                                                               333-06
                                                   8     Undergone no overhaul                                                                             -
                                                   9     Last technical service (24+2 / ., months)                                                         December 2007
                                                                                                                                                                                                                    #:6265




                                              2. Inf1     ti    bout tb           APU and tb         b
                                                   1     Type of en.gine                                             RD-33 2S series 1       GTDE -117             KSA-3
                                                   2     Factoiy ~o                                                  l. 870884872242         4203253508230        4200625711981
                                                                                                                     2. 870881972065




Ghanem_Sentencing_00000845
                                                   3     Total Time Since New                                        l. 280-54               1496 startings       365hs
                                                                                                                     2. 171-24               787consecutive
                                                                                                                                             starlings of the
                                                                                                                                             eneine
                                                   4     Tota.I Time fro m the last overhaul                         l. -                    1420 startings       -
                                                                                                                     2. 142-32               791 consecutive
                                                                                                                                             startings of the
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                                                                                                             T ECHNICAL CERTIFICATE
                                                                                                     AIRCRAFT Mer-29 (Type 9.13) from Septembel' 2009



                                              1. Information about the aircraft:
                                                   l   Tvpe of aircraft                                                                                   MiG-29
                                                   2    Factory No                                                                                        29607221943
                                                   3    Registration No                                                                                   47
                                                   4    Date of manufacture                                                                               31.10.1988
                                                   5    Technical resource (hours/verus)                                                                  2500 hours
                                                   6    Total Time Since New                                                                              325-08
                                                   7    Undergone no overhaul                                                                             -
                                                   9    Last teclmical service (24+2 / - 1 months)                                                         December 2007



                                                                      h,
                                                                                                                                                                                                                              #:6266




                                              2. lnf1          b                    PU               b
                                                   I     Ty pe of eng ine                                                  RD-33 2S series 1        GTDE - 117             KSA-3

                                                   2     Factory No                                                        1.   87088346] 109       4203252604120          4200625604566
                                                                                                                           2.   870884461136




Ghanem_Sentencing_00000846
                                                   3     Total Time Since New                                              1.   407-02              1679 startings         331-JOhs
                                                                                                                           2.   242-32              1088 consecutive       1136 startings
                                                                                                                                                    startings of the
                                                                                                                                                    en2ine
                                                   4     Total Time from the last overhaul                                 1. 38-30                 -                      -
                                                                                                                           2. 12-24

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                                                                                                       T ECHNICAL CERTIFICATE
                                                                                               AIRCRAFT Mer-29 (Type 9.13) from Septembe r 2009




                                                1. Information about the aircraft:
                                              1     Type of aircraft                                                                                                  MiG-29
                                              2     Factory No                                                                                                        2960721939
                                              3     Registration No                                                                                                   45
                                              4     Date of manufacture                                                                                               31.10. 1988
                                              5     Technical resource (hours/years)                                                                                  2500 hours
                                              6     Total Time Since New                                                                                              268-06
                                              8     Undergone no overhaul                                                                                             -
                                              9     Last technical service (24+2 /.1 months)                                                                          December 2007
                                                                                                                                                                                                                                        #:6267




                                               2. Infi           b       h          APU and th,      b
                                              1    Ty pe of engine                                                RD-33 2C se.-ies 1       GTDE-117                        KCA-3

                                              2     Factory No                                                    1. 870883872047          4203253808407                   4200625S08190
                                                                                                                  2. 870884872070




Ghanem_Sentencing_00000847
                                              3     Total Time Since New                                          1. 304-54                1343 startings                  303-SOhs I 787 startings
                                                                                                                  2. 272-42                1104 consecutive
                                                                                                                                           startin2s of the enS!ine
                                              4     Total Time from the last overhaul                             1. -                     -                               -
                                                                                                                  2. -


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                                                                                                       TECHNICAL CERTIFICATE
                                                                                               AIRCRAFT Mer-29 (Type 9.13) from September 2009




                                                1. Information about the aircraft:
                                              1     Ty pe of aircraft                                                                                               MiG-29
                                              2     Factory No                                                                                                      2960721937
                                              3     Registration No                                                                                                 43
                                              4     Date of manufacture                                                                                             31.10.1988
                                              5     Technical resource (hours/years)                                                                                2500 hours
                                              6     Total Time Since New                                                                                            326-26
                                              8     Undergone no overh aul                                                                                          -
                                              9     Last technical service (24+2 /.1 months)                                                                        December 2007
                                                                                                                                                                                                                                       #:6268




                                               2. Infi           b       h         ,   APU and th    b
                                              1    Ty pe of engine                                                RD-33 2S series 1       GTDE-117                      KSA-3
                                              2     Factory No                                                    1. 870882761140         4203253708419                 4200625708908
                                                                                                                  2. 870882561056
                                              3     Total Time Since New                                          1. 321                  1519 startings                342-44hs / 1150 stru'tings




Ghanem_Sentencing_00000848
                                                                                                                  2. 266-21               754 consecutive
                                                                                                                                          startin2s of the en2ine
                                              4     Time from the last overhaul                                   1. 24-39                -                             -
                                                                                                                  2. 25-30



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                                                                                                            T ECHNICAL CERTIFICATE
                                                                                                    AIRCRAFT Mer-29 (Type 9.13) from Septembel' 2009



                                              1. Information about the aircraft:
                                                   1    Type of aircraft                                                                                        MiG-29
                                                   2     Factory No                                                                                             2960721933
                                                   3     Re!?.istration No                                                                                      42
                                                   4     Date of manufacture                                                                                    31.10.1988
                                                   5     Technical resource (hours/vears)                                                                       2500 hours
                                                   6     Total Time Since New                                                                                   372-35
                                                   7     Undergone no OYerhaul                                                                                  -
                                                   9     Last teclmical service (24+2 /_, months)                                                               Decembe1· 2007



                                                                      h,
                                                                                                                                                                                                                           #:6269




                                              2. lnf1          b                   PU               b
                                                   I     Tvoe of engine                                                   RD-33 2S series 1        GTDE - 117           KSA-3
                                                   2     FactoiyNo                                                        1. 870884772302          4203253807385        4200625807187
                                                                                                                          2. 870883561051
                                                   3     Total Time Since New                                             1. 431-46                1792 startings       413-19




Ghanem_Sentencing_00000849
                                                                                                                          2. -                     1521 consecutive     1054 startings
                                                                                                                                                   startings of the
                                                                                                                                                   en2ine
                                                   4     Total Time from the last overhaul                                1. 79-16                 -                    -
                                                                                                                          2. -


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                                   #   AMOD               DMAN       SLL               TSN                 LSN   OH   LOH   TBO                        TSLR   LSLR   DLF        Comments
                                                                     Y     H/Lan                                            Y   H/Lan/St                H
                                                                           /St
                                   1   9.13               10/31/88   20    2,500 h     268.06 h            465   -    -     9   800 h              -          -      02/04/98
                                       2960721939
                                   2   1st engine type    08/12/88   -     800 h       304.34 h/ 707 st.   -     -    -     8   400 h/ 1,200 st.   -          -      11/26/02
                                       88p.2S Series 2                                                                                                               start
                                       870883872047
                                   3   2nd engine type    11/22/88   -     800 h       272.42 h/613 st.    -     -    -     8   500 h/ 1,500 st.   -          -      11/26/02
                                       88 p.2S Series 2                                                                                                              start
                                       870884872070
                                                                                                                                                                                                                                  #:6270




                                   4   Type KSA-3         09/01/88   14    1,000 h/    303.50 h/787 st.    -     -    -     7   500 h/ 1,880 st.   -          -      11/26/02
                                       4200625808190                       3,760 st.                                                                                 start
                                   5   Type GTDE* 117     08/16/88   14    3,500 st.   1,343 st.           -     -    -     7   2,910 st. BFO      -          -      11/26/02
                                       4203253808407                                                                            590 st. BO                           start




Ghanem_Sentencing_00000850
                                          *Gas Turbine Engine-Power Generation Unit
                                                                                                                                                                                                Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 129 of 174 Page ID




                             00092276 - Translation                                                                                                                        Ghanem_00000241-01
                                   #   AMOD               DMAN       SLL               TSN         LSN   OH   LOH        TBO                      TSLR   LSLR   DLF        Comments
                                                                     Y     H/Lan                                         Y   H/Lan/St              H
                                                                           /St
                                   1   9.13               10/31/88   20    2,500 h     326.26 h    603   -    -          9   800              -          -      01/21/98
                                       2960721937
                                   2   1st engine type    07/02/87   -     600 h       321.44h/    -     1    09/13/91   6   300 h/ 900 st    24.39 h/   -      10/24/02
                                       88p.2S Series 2                                 817 st                                                 94 st.            Start
                                       870882761140
                                   3   2nd engine type    05/85      -     -           266.21 h    -     1    06/21/91   -   -                25.30 h/   -      10/24/02   Form
                                       88 p.2S Series 2                                                                                       92 st.            Start      duplicate
                                       870882561056
                                                                                                                                                                                                                             #:6271




                                   4   Type KSA-3         09/02/87   -     700 h/      342.44h/    -     -    -          6   500 h/1,880 st   -          -      10/24/02
                                       4200625708908                       2,632 st.   1,150 st.                             BFO                                Start
                                                                                                                             200 h BO
                                   5   Type GTDE* 117     08/27/87   14    3,500 st.   1,519 st    -     -    -          7   2,910 st. BFO    -          -      10/24/02
                                       4203253708419                                                                         590 st BO                          Start




Ghanem_Sentencing_00000851
                                                                                                                                                                                           Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 130 of 174 Page ID




                             00092276 - Translation                                                                                                                   Ghanem_00000241-02
                                   #   AMOD               DMAN       SLL              TSN        LSN   OH   LOH        TBO                   TSLR   LSLR   DLF        Comments
                                                                     Y     H/Lan                                       Y   H/Lan/St           H
                                                                           /St
                                   1   9.13               10/31/88   20    2,500h     288.30h    533   -    -          9   800           -          -      01/21/98
                                       2960721514
                                   2   1st engine type    09/30/87   -     1,000h     281.29h    -     1    03/31/91   6   400h/1,200s   26.25 h    -      11/19/02
                                       88p.2S Series 2                                                                     t BFO                           start
                                       870883772269                                                                        350h/1,050
                                                                                                                           st BO
                                   3   2nd engine type    05/29/87   -     600 h      326.35h/   -     2    09/10/91   -   300h/900st    26.35 h/   -      11/19/02
                                       88 p.2S Series 1                               750 st                                             114 st.           Start
                                       870882761062
                                                                                                                                                                                                                        #:6272




                                   4   Type KSA-3         08/01/88   14    1,000h/    315.44h/   -     -    -          7   500h/1,880    -          -      11/19/02
                                       4200625807171                       3,760 st   829 st                               st BFO                          Start
                                                                                                                           500h BO
                                   5   Type GTDE* 117     07/25/88   14    3,500 st   1,418 st   -     -    -          7   2,910st BFO   -          -      11/19/02
                                       4203253807352                                                                       590 st. BO                      start




Ghanem_Sentencing_00000852
                                                                                                                                                                                      Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 131 of 174 Page ID




                             00092276 - Translation                                                                                                              Ghanem_00000241-03
                                   #   AMOD               DMAN       SLL              TSN         LSN   OH   LOH        TBO                    TSLR   LSLR   DLF        Comments
                                                                     Y     H/Lan                                        Y   H/Lan/St            H
                                                                           /St
                                   1   9.13               10/31/88   20    2,500h     333.06h     605   -    -          9   800            -          -      01/14/98
                                       2960721938
                                   2   1st engine type    12/30/88   8     800h       280.54h/    -     -    -          8   500h/1,500st   -          -      11/27/02
                                       88p.2S Series 2                                635 st.                               BFO                              start
                                       8708834872242                                                                        500h/1,500st
                                                                                                                            BO
                                   3   2nd engine type    02/16/89   8     800h       171.24h/    -     1    02/23/90   -   500h/1,500st   142.32 h   -      11/27/02
                                       88 p.2S Series 1                               439 st.                               BFO                              start
                                       870881972065                                                                         500h/1,500st
                                                                                                                                                                                                                          #:6273




                                                                                                                            BO
                                   4   Type KSA-3         11/30/87   12    700h/      364.25h/    -     -    -          6   500h/1,880st   -          -      11/27/02
                                       4200625711981                       2,632 st   1,098 st.                             BFO                              start
                                                                                                                            200h BO
                                   5   Type GTDE* 117     09/02/85   -     3,200 st   1,496 st    -     -    -          7   1,600st BFO    -          -      11/27/02
                                       4203253508230                                                                        1,600st BO




Ghanem_Sentencing_00000853
                                                                                                                                                             start
                                                                                                                                                                                        Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 132 of 174 Page ID




                             00092276 - Translation                                                                                                                Ghanem_00000241-04
                                   #   AMOD               DMAN       SLL              TSN        LSN   OH   LOH        TBO                  TSLR     LSLR   DLF        Comments
                                                                     Y     H/Lan                                       Y   H/Lan/St          H
                                                                           /St
                                   1   9.13               10/31/88   20    2,500h     385 h      594   -    -          9   800          -            -      02/02/98
                                       2960721943
                                   2   1st engine type    09/29/84   -     -          407h/      -     2    06/11/91   6   125h/375st   38h/ 131st   -      11/05/02
                                       88p.2S Series 2                                903 st                               BFO                              start
                                       870883461109
                                   3   2nd engine type    12/28/84   -     -          242h/      -     2    02/22/91   6   100h/300st   12h/ 64st    -      11/05/02
                                       88 p.2S Series 1                               694 st                               BFO                              Start
                                       870884461136
                                                                                                                                                                                                                         #:6274




                                   4   Type KSA-3         05/14/86   -     1,000h/    331 h/     -     -    -          6   500h BO      -            -      11/05/02
                                       4200625604566                       4,160st    1,136 st                                                              Start
                                   5   Type GTDE* 117     04/21/86   -     100h/      1,679 st   -     -    -          7   50h/         -            -      11/05/02
                                       4203252604120                       3,500st.                                        1,750st BO                       start




Ghanem_Sentencing_00000854
                                                                                                                                                                                       Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 133 of 174 Page ID




                             00092276 - Translation                                                                                                               Ghanem_00000241-05
                                   #   AMOD               DMAN        SLL                TSN         LSN   OH   LOH        TBO                  TSLR       LSLR   DLF        Comments
                                                                      Y        H/Lan                                       Y   H/Lan/St          H
                                                                               /St
                                   1   9.13               10/31/88    20       2,500 h   372.35h     696   -    -          9   800          -              -      01/14/98
                                       2960721933
                                   2   1st engine type    01/12/88    -        600 h     431.46h/    -     1    06/05/91   8   350h/        79.16h/231st   -      11/14/02
                                       88p.2S Series 2                                   894 st                                1,050st BO                         start
                                       870884772302
                                   3   2nd engine type    08/29/85    -        400 h     358.41 h/   -     3    05/30/91   -   200h/        38.41h/99st    -      11/14/02
                                       88 p.2S Series 1                                  406st                                 600st BO                           Start
                                       8708835561051
                                   4   Type KSA-3         08/19/88    14       1,000 h   413.19h/    -     -    -          7   500h BO      -              -      11/14/02
                                       4200625807187                                     1,054st                                                                  Start
                                   5   Type GTDE* 117     07/31/88    14       3,500st   1,792st     -     -    -          7   590st BO     -              -      11/14/02
                                       4203253807385                                                                                                              start

                                          List of Acronyms Used:
                                          AMOD           Aicraft Modification
                                          DMAN           Date Manufactured
                                          SLL            Service Life Limit
                                                                                                                                                                                                                               #:6275




                                          Y              years
                                          H/h            hours
                                          LAN/lan                landings
                                          St/st          starts
                                          TSN            Time Since New




Ghanem_Sentencing_00000855
                                          LSN            Landings Since New
                                          OH             Overhauls
                                          LOH            Last Overhaul
                                          TBO            Time between Overhauls
                                          TSLR           Time since Last Repair
                                          LSLR           Landings since Last Repair
                                          DLF            Date of Last Flight
                                          BFO            Before the First Overhaul
                                          BO             Between Overhauls

                                          The rest of the file is in English
                                                                                                                                                                                             Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 134 of 174 Page ID




                             00092276 - Translation                                                                                                                     Ghanem_00000241-06
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 135 of 174 Page ID
                                  #:6276




 00092288                                             Ghanem_00000241-0001


                         Ghanem_Sentencing_00000856
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 136 of 174 Page ID
                                  #:6277




 00092288                                             Ghanem_00000241-0002


                         Ghanem_Sentencing_00000857
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 137 of 174 Page ID
                                  #:6278




 00092288                                             Ghanem_00000241-0003


                         Ghanem_Sentencing_00000858
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 138 of 174 Page ID
                                  #:6279




 00092288                                             Ghanem_00000241-0004


                         Ghanem_Sentencing_00000859
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 139 of 174 Page ID
                                  #:6280




 00092288                                             Ghanem_00000241-0005


                         Ghanem_Sentencing_00000860
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 140 of 174 Page ID
                                  #:6281




 00092288                                             Ghanem_00000241-0006


                         Ghanem_Sentencing_00000861
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 141 of 174 Page ID
                                  #:6282




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 00092288                                             Ghanem_00000241-0007


                         Ghanem_Sentencing_00000862
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 142 of 174 Page ID
                                  #:6283




 00092288                                             Ghanem_00000241-0008


                         Ghanem_Sentencing_00000863
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 143 of 174 Page ID
                                  #:6284




 00092288                                             Ghanem_00000241-0009


                         Ghanem_Sentencing_00000864
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 144 of 174 Page ID
                                  #:6285




 00092288                                             Ghanem_00000241-0010


                         Ghanem_Sentencing_00000865
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 145 of 174 Page ID
                                  #:6286




 00092288                                             Ghanem_00000241-0011


                         Ghanem_Sentencing_00000866
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 146 of 174 Page ID
                                  #:6287




 00092288                                             Ghanem_00000241-0012


                         Ghanem_Sentencing_00000867
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 147 of 174 Page ID
                                  #:6288




 00092288                                             Ghanem_00000241-0013


                         Ghanem_Sentencing_00000868
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 148 of 174 Page ID
                                  #:6289




 00092288                                             Ghanem_00000241-0014


                         Ghanem_Sentencing_00000869
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 149 of 174 Page ID
                                  #:6290




 00092288                                             Ghanem_00000241-0015


                         Ghanem_Sentencing_00000870
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 150 of 174 Page ID
                                  #:6291




 00092288                                             Ghanem_00000241-0016


                         Ghanem_Sentencing_00000871
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 151 of 174 Page ID
                                  #:6292




 00092288                                             Ghanem_00000241-0017


                         Ghanem_Sentencing_00000872
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 152 of 174 Page ID
                                  #:6293




 00092288                                             Ghanem_00000241-0018


                         Ghanem_Sentencing_00000873
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 153 of 174 Page ID
                                  #:6294




 00092288                                             Ghanem_00000241-0019


                         Ghanem_Sentencing_00000874
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 154 of 174 Page ID
                                  #:6295




 00092288                                             Ghanem_00000241-0020


                         Ghanem_Sentencing_00000875
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 155 of 174 Page ID
                                  #:6296




 00092288                                             Ghanem_00000241-0021


                         Ghanem_Sentencing_00000876
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 156 of 174 Page ID
                                  #:6297




 00092288                                             Ghanem_00000241-0022


                         Ghanem_Sentencing_00000877
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 157 of 174 Page ID
                                  #:6298




 00092288                                             Ghanem_00000241-0023


                         Ghanem_Sentencing_00000878
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 158 of 174 Page ID
                                  #:6299




 00092288                                             Ghanem_00000241-0024


                         Ghanem_Sentencing_00000879
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 159 of 174 Page ID
                                  #:6300




                                            CASE NO.     CR 15-0704 (A)-SJO

                                                     UNITED STATES OF AMERICA
                                              VS.       GHANEM

                                            PLAINTIFF=S EXHIBIT            714

                                            DATE                                 IDEN.

                                            DATE                                 EVID.

                                            BY
                                                            DEPUTY CLERK
                                            AO 386




                         Ghanem_Sentencing_00000880
            Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 160 of 174 Page ID
 From:                                               #:6301
                sora sora <sora1000.sora1000@gmail.com>
 Sent:           Wednesday, December 31, 2014 10:58 AM
 To:             Rami Ghanem <ramithe@gmail.com>
 Subject:        schedule acquisition of aircraft as I promissed



 Schedule acquisition of aircraft:
- 5-7 January 2015 will be announced and published information about the auction for the sale of aircrafts MIG - 29
- 7-10 January 2015 we get a list of all documents for participation in the auction
- 15-18 January 2015 we must apply to participate in the auction and show our payment for participation in the auction of 3-
5 thousand dollars USA and pay the official advance of 10% of the initial value of the lot
- 25-29 January 2015 will be organized the auction with bids for the sale of aircrafts
- after we win the auction in 3 days we will sign the contract
- after we will sign the contract we need to pay full official price 9.1 mln USD and 1/3 of amount from unofficial price (2
mln USD)
- in 7 days after signing the contract we can take first two aircrafts MIG - 29 and after 7-10 days we can take another 2 and
after 7 days more we can close deal and to take the last 2 aircrafts.

Dear brother as we talked reparation will be paid separate in unofficial mode to repare all the aircrafts before the auction.
The price for all 6 aircrafts reparation will be from 6 to 8 hundred thousands USD.
THE OFFICIAL END PRICE WILL BE 8,7 - 9,1 mln. USD. THE UNNOFICIAL ADDITIONAL PRICE WILL BE = 6
mln. USD. THE PRICE OF REPARATION WILL BE 6-8 hundred thousand USD.

BEST REGARDS
SERGEI




   00092049                                                                                           Ghanem_00000241

                                              Ghanem_Sentencing_00000881
Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 161 of 174 Page ID
                                  #:6302




                                            CASE NO.     CR 15-0704 (A)-SJO

                                                     UNITED STATES OF AMERICA
                                              VS.       GHANEM

                                            PLAINTIFF=S EXHIBIT            715

                                            DATE                                 IDEN.

                                            DATE                                 EVID.

                                            BY
                                                            DEPUTY CLERK
                                            AO 386




                         Ghanem_Sentencing_00000882
        Case 2:15-cr-00704-SJO Document 431-9 Filed 05/13/19 Page 162 of 174 Page ID
                                          #:6303

   F rom :           Rami Ghanem <ramithe@gmail.com>
   Sent:             Saturday, October 25 , 2014 8:02 AM
   To:               Dr Wael Suleiman <wmsuleiman@gmail.com>; Rami N Ghanem
                     <rami@allghanem.com>
   Subject:          MI-24



   Dear Dr. Wael ,

   We need fully operational crew day/ night for mi24/35 total of 3 helicopters al so we need one technician
   airframe and one power train and firing system technician for the same platfonn .



   Thanks & Regards

   RG




00099603.pdf                                                                                     Ghanem 00000241
                                         Ghanem_Sentencing_00000883
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                                            DATE                                IDEN.

                                            DATE                                EVID.

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                         Ghanem_Sentencing_00000884
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                                         #:6305

   From:               D . CORREA, M .SC. \(STRATEGIC ADVISOR\) <templar@orbenovo.net>
   Sent:               Thursday, November 6, 2014 5:52 P:\1
   To:                 ops@mecernaries.eu
   Subject:            Air Crew
   Attach:             Air Crew.pdf




   Dear Sirs ,

   Please let us know of status of data we have discussed
   If you have any further questions or you will need to immediately get in touch with me, please call me at direct number
   from Washington D.C. 1 (202) 407-9900 , or by one of the methods listed below.

   With all due respect to you.

   0 . Correa, M.Sc.



   Knights Templar Commander
   Sovereign Military Order of the Temple of Jerusalem

   Mobiles:
   U.S. 1 (202) 817-8000
   UK +44 79 0319 6000
   Skype: OrbeNovo

                                                  s; Vis Pacem, Para Bellum




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                                             Ghanem_Sentencing_00000885
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                                        #:6306




         Mi17 - Flight Crew
         Pilot and Co-Pilot
         $2,000 X 2 = $4,000


        Flight Engineer
        $1 ,000x 1=$1,000


        $5,000 per helicopter x 2 = $10,000 per day

         x 30 days = $300,000 per month

         12 month base salary $3,600,000.00

         KnR Insurance= $1 ,900 per person per day x 30 = $171 ,000 per month
         Life Insurance= $50,000 per month x 3 = $150,000 per month
         Medical Insurance = $1 ,100 per day per person x 30 = $99,000 per month
         Medivac Insurance= $300 per day per person x 30 = $90,000 per month

         12 month insurance costs $510,000 per month


         12 month cost$4, 110,000.00

         Hazardous Duty Pay 25% = $1 ,027,500.00

         Daily per diem $150 x 3 = $450 x 30 = $13,500 per month
         $162,500

         Housing and Security $33 ,000 per month
         $396,000

         Airline Flights $2,000 x 3 = $6,000
         $36,000


         Total $5,732,000


         Project Management $1 ,146,400

         12 Month Grand Total $6,878,400

         Monthly Cost $573,200




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                                           Ghanem_Sentencing_00000886
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  M i24 - Flight Crew
  Pilot and Co-Pilot
  $3,000 X 2 = $6,000


  Flight Engineer
  $1 ,000 X 1=$1 ,000


  Weapons Systems Engi neer
  $ 1,000x 1=$1 ,000


  $8,000 per Helicopter x 2 = $16,000 per day


  x 30 Days = $480,000 per month
  12 month base contract $5,760,000.00


  KnR Insurance = $1 ,900 per person per day x 30 = $171 ,000 per month
  Life Insurance= $50,000 per month x 3 = $150,000 per month
  Medical Insurance= $1 ,100 per day per person x 30 = $99,000 per month
  Medivac Insurance= $300 per day per person x 30 = $90,000 per month

  12 month Insurance costs $510,000 per month


  12 month cost $6,270,000.00



  Hazardous Duty Pay 25% = $1,567,500.00

  Daily per d iem $150 x 3 = $450 x 30 = $13,500 per month
  $162,500

  Housing and Security $33 ,000 per month
  $396,000

  Airline Flights $2,000 x 3 = $6,000
  $36,000


  Total $8,432,000


  Project Management $1 ,686,400


  12 Month Grand Total $10,118,400

  Monthly Cost $843,200




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  GSE

  1 Engineer

  2 Mechanics

  2 Technicians

  1 Weapons Engineer



  $1 ,000   X   6 = $6,000

  x 30 Days = $180,000 per month
  12 month base contract $2,160,000.00


  KnR Insurance= $1 ,900 per person per day x 30 = $342,000 per month
  Life Insurance= $50,000 per month x 6 = $300,000 per month
  Medical Insurance= $1 ,100 per day per person x 30 = $198,000 per month
  Medivac Insurance= $300 per day per person x 30 = $54,000 per month

  12 month insurance costs $894,000 per month


  12 month cost $3,540,000.00



  Hazardous Duty Pay 25% = $885,000.00



  Daily per diem $150 x 6 = $900 x 30 = $27,000 per month
  $162,500

  Housing and Security $33,000 per month
  $396,000

  Airline Flights $2,000 x 6 = $12,000
  $72,000



  Total $5,055,500


  Project Management $1 ,011 ,100


  12 Month Grand Total $6,066,600

  Monthly Cost $505,550




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  Helicopter Pilot Cost

  12 Month Total $16,996,800

  Monthly Cost $1,416,400



  Helicopter Pilot Cost

  12 Month Total $6,066,600

  Monthly Cost $505,550




  Grand Total Cost $23,063,400

  Monthly Cost $1,921 ,950




  $5,765,850 Deposit (3 months)




                                                                 Ghanem 00000241
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                         Ghanem_Sentencing_00000890
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                                        #:6311

   From:       Rami Ghanem <ramithe@gmail.com>
   Sent:       Friday, November 7, 2014 4:47 PM
   To:         philippou@noricum .com .cy
   Cc:         tomer@ta1ideal.com
   Subject:    Libya & Egy pt




   Nicolas & Tomer



   I hope you are well~ as an extra work for you I am looking for the following :

   Libya
   We need fully operational crew for the following :
   Ml 24 ( 2 aircraft) Urgent
   Ml 24 technicians ( power train , airframe, armament
   sys) Urgent
   Later
   Flight crew for Ml 17 ( 2 aircraft)
   Flight crew and technicians for one MIG 21and one
   MIG 23
   Flight crew and technicians for one IL 76
   All should be one year contract




   Egypt




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                                  Ghanem_Sentencing_00000891
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For Egypt: please add in your offer 25% extra, for our
 company will be 10% and the remaining 15% for the
final negotiation with the customer.

QTY you can offer only from Stock:

RBJ -7
107mm launchers
BM21 launcher and ammo
Mortars 81 82 60 120
14.5mm twin gun with ammo
Ammo 7.62x51
Ammo 7.62x54
23mm twin gun
Any small arms from stock and the earliest delivery

Offer for Egypt please make it is address to the following:
Egyptian Armed Forces
Cairo - Egypt



I need your quick response please


Thanks & Regards




CilfflaNIIJI ~- ~ - /Ci'l'.BJ
Complex 122, Building 16, Apartment 42
Al Rehab City, Cairo Egypt



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                                         Ghanem_Sentencing_00000892
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                                        #:6313

Telephone# 00201127999552
Jordan Office

Tel: 962 6 5685624
Fa.x: 962 6 5685625
ramith.~gmail.com _or rami@caravana1ne.~..2.~
US Telephone: 772 675-4363 Skype Address: ~-~r~Y-~.9.11:!!J~

 The Information contained in th s m!.ssaee ii for the lnteided .addressee only and may contain c:on.fldenHal and/orc,rli.1lee:td Information. tf vou are not the Intended acdre~see. thk meua,e w II self dtstruct so
 notify the sender; do not copy or distribute this mes.sage or dsclose Its co,terts to anyone. Any views or opinions express.ej In this message are those: d the author and do not nece;sarly repr1Sent tho;e of Cf\lE or
 of any d its associated companies. No reliance may be pliced on this message withou: writter confirrration from an autho·iz:ed representa:ive of the company.




                       Life is short .. So love your life .. Be happy .. And Keep smi ling.. and


                                                                            Before you speak »Listen
                                                                             Before you write >>Th ink
                                                                             Before you spend »Earn
                                                                            Before you pray »Forgive
                                                                              Before you hurt »Feel
                                                                              Before you hate »Love
                                                                               Before you quit »Try
                                                                               Before you die »Live

                                                                                              That's Life ...




                                                                                                                                                                                         Ghanem 00000241
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                                              VS.       GHANEM

                                            PLAINTIFF=S EXHIBIT            718

                                            DATE                                 IDEN.

                                            DATE                                 EVID.

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                                                            DEPUTY CLERK
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                         Ghanem_Sentencing_00000894
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                                          #:6315

   From:                  Rami Ghanem S4 <ramithe@gmail.com>
   Sent:                  Saturday, Kovember 8, 201 4 8:39 AM
   To:                    Mohd <aldaboubim@gmail.com>
   Subject:               Emailing Air Crew Final .pdf
   Attach:                Air Crew Final.pdf




   Sent from Samsung Mobile.




00096725.pdf                                                                Ghanem 00000241
                                               Ghanem_Sentencing_00000895
